      Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 1 of 94




   Excolo Law, PLLC                                           THE BERKMAN LAW OFFICE, LLC
 1 Keith Altman (SBN 257309)                                  ROBERT J. TOLCHIN
 2 Solomon Radner (pro hac vice)                              Admitted Pro Hac Vice
   26700 Lahser Road, Suite 401                               111 Livingston Street, Suite 1928
 3 Southfield, MI 48033                                       Brooklyn, New York 11201
   516-456-5885                                               718-855-3627
 4 Email: kaltman@lawampmmt.com                               Email: rtolchin@berkmanlaw.com
   sradner@1800lawfirm.com
 5
                                                              WEINSTOCK MANION, A Law Corporation
 6 1-800-LAWFIRM                                              M. NEIL SOLARZ (SBN 78259)
   Ari Kresch (pro hac vice)                                  DIANE Y. PARK (SBN 222354)
 7 26700 Lahser Road, Suite 401                               1875 Century Park East, Suite 2000
   Southfield, MI 48033                                       Los Angeles, California 90067
 8 516-456-5885                                               (310) 553-8844 • Fax (310) 553-5165
 9 800-LawFirm
   Email: akresch@1800lawfirm.com
10
   Attorneys for Plaintiff Reynaldo Gonzalez                  Attorneys for Plaintiffs The Estate of Nohemi
11
                                                              Gonzalez, Beatriz Gonzalez (Individually and
12                                                            as the Administrator of the Estate of Nohemi
                                                              Gonzalez), Jose Hernandez, Rey Gonzalez,
13                                                            and Paul Gonzalez
14
                                    UNITED STATES DISTRICT COURT
15                                NORTHERN DISTRICT OF CALIFORNIA
16
17   ----------------------------------------------------------- X
     REYNALDO GONZALEZ; THE ESTATE OF                                   Case No:
18   NOHEMI GONZALEZ; BEATRIZ GONZALEZ,                                 4:16-CV-3282(DMR)
19   Individually and as the Representative of the Estate
     of Nohemi Gonzalez; JOSE HERNANDEZ; REY                            SECOND AMENDED
20   GONZALEZ; and                                                      COMPLAINT
21   PAUL GONZALEZ,
                                                                        JURY TRIAL DEMANDED
22                                     Plaintiffs,

23                              -against-                               Hon. Donna M. Ryu

24   GOOGLE, INC.,

25                                     Defendant.

26   ----------------------------------------------------------- X

27
28                                              1
                Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 2 of 94




            Plaintiffs, by and through their attorneys, allege the following against Defendant Google,
 1
 2 Inc. (“Google” or “Defendant”):
 3                                         NATURE OF ACTION

 4          1.      This is an action for damages against Google pursuant to the Antiterrorism Act, 18
 5 U.S.C. § 2333 (“ATA”), as amended by the Justice Against Sponsors of Terrorism Act (“JASTA”),
 6
   Pub. L. No. 114-222 (2016), for aiding, abetting, and knowingly providing support and resources to
 7
   ISIS, the notorious designated foreign terrorist organization that carried out the November 13, 2015
 8
   terrorist attacks in Paris, France that murdered Ms. Nohemi Gonzalez and 129 other innocent
 9
10 civilians.
11          2.      The ATA’s civil remedies have served as an important means for enforcing the

12 federal criminal antiterrorism provisions since the early 1990s.
13
            3.      Congress enacted the ATA in October 1992 as a legal complement to criminal
14
     penalties against terrorists that kill or injure Americans abroad, specifically intending that the civil
15
     provisions would not only provide a mechanism for compensating victims of terror, but also serve
16
17 as an important means of depriving terrorists of financial resources to carry out attacks.
18          4.      Following the bombing of the World Trade Center in New York by al-Qaeda in

19 1993, Congress targeted terrorist resources again by enacting 18 U.S.C. § 2339A in September 1994,
20 making it a crime to provide material support or resources knowing or intending that they will be
21
     used in preparing or carrying out terrorist acts.
22
            5.      In April 1996, Congress further expanded the effort to cut off resources to terrorists
23
     by enacting 18 U.S.C. § 2339B, making it a crime to knowingly provide material support or
24
25 resources to a designated foreign terrorist organization.
26          6.      In the wake of the terror attacks on the United States by al-Qaeda of September 11,

27 2001 killing nearly 3,000 Americans, Congress amended the “material support” statutes, 18 U.S.C.
28                                               2
                 Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 3 of 94




     §§ 2339A-B, via the PATRIOT Act in October 2001 and the Intelligence Reform and Terrorism
 1
 2 Prevention Act of 2004, to impose greater criminal penalties for violating these statutes and to
 3 expand the definition of “material support or resources” prohibited thereby.
 4          7.      In September 2016, Congress amended the ATA’s civil provisions to recognize
 5 causes of action for aiding and abetting and conspiring with foreign terrorist organizations who plan,
 6
   prepare, or carry out acts of international terrorism.
 7
           8.      The terror attacks in this case were carried out by ISIS, a terrorist organization for
 8
   years closely affiliated with al-Qaeda, but from which al-Qaeda separated as being too brutal and
 9
10 extreme.
11          9.      Known at various times as “The al-Zarqawi Network,” “al-Qaida in Iraq,” “The

12 Islamic State in Iraq,” “ISIL,” and other official and unofficial names, ISIS has been a designated
13
     Foreign Terrorist Organization (“FTO”) under Section 219 of the Immigration and Nationality Act,
14
     8 U.S.C. § 1189 (“INI”), since October 2004.
15
            10.     By the time of the terror attacks in this case, ISIS had become one of the largest and
16
17 most widely-recognized and feared terrorist organizations in the world.
18          11.     The expansion and success of ISIS is in large part due to its use of the internet and

19 social media platforms to promote and carry out its terrorist activities.
20          12.     ISIS in particular embraced and used Google’s YouTube platform and services as a
21
     powerful tool for terrorism.
22
            13.     Google’s YouTube media platform and services provide tremendous utility and value
23
     to ISIS as a tool to connect its members and to facilitate the terrorist group’s ability to communicate,
24
25 recruit members, plan and carry out attacks, and strike fear in its enemies.
26
27
28                                               3
                 Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 4 of 94




            14.     Google’s services have played a uniquely essential role in the development of ISIS’s
 1
 2 image, its success in recruiting members from around the world, and its ability to carry out attacks
 3 and intimidate its enemies.
 4          15.     For example, ISIS uses Google’s YouTube platform and services to distribute high-
 5 production-quality videos, images, and recordings that make it appear more sophisticated,
 6
   established, and invincible.
 7
           16.    ISIS has used YouTube to cultivate and maintain an image of brutality, to instill
 8
   greater fear and intimidation, and to appear unstoppable, by disseminating videos and images of
 9
10 numerous beheadings and other brutal killings, including setting captives on fire, blowing them up
11 with explosives, slowly lowering them in a cage underwater to drown, and more.
12          17.     In this case, ISIS used YouTube to specifically threaten France that it would be
13
     attacked for participating in a coalition of nations against ISIS, to celebrate smaller attacks leading
14
     up to these major attacks, and to transform the operational leader of the Paris attack into a “celebrity”
15
     among jihadi terrorists in the year leading up to the Paris attack via videos featuring his ISIS exploits
16
17 in Syria, France and Belgium.
18          18.     ISIS also used YouTube to celebrate the Paris attacks, to intensify the intimidation

19 of the attacks, and to claim credit for the attacks.
20          19.     ISIS also used YouTube to distribute a video made in anticipation of the attack
21
     showing each of the ISIS terrorists who carried out the attacks telling of their intentions and then
22
     executing a captive for the camera either by shooting or beheading.
23
            20.     For years, ISIS and its affiliated media production and distribution networks openly
24
25 maintained and used official YouTube accounts with little or no interference. Despite extensive
26 media coverage, complaints, legal warnings, petitions, congressional hearings, and other attention
27 for providing its online social media platform and communications services to ISIS, prior to the
28                                              4
                Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
        Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 5 of 94




     Paris attacks Google continued to provide these resources and services to ISIS and its affiliates,
 1
 2 refusing to actively identify ISIS YouTube accounts, and only reviewing accounts reported by other
 3 YouTube users.
 4          21.      Google knowingly provided material support and resources to ISIS in the form of
 5 Google’s YouTube platform and other services, as well as by making personnel available to ISIS.
 6
          22.     ISIS used and relied on YouTube as among its most important tools to facilitate and
 7
   carry out its terrorist activity, including the terrorist attacks in which ISIS murdered Nohemi
 8
   Gonzalez.
 9
10          23.      By providing its YouTube platform and other online services and personnel to ISIS,

11 Google: violated the federal prohibitions on providing material support or resources for acts of
12 international terrorism (18 U.S.C. § 2339A) and providing material support or resources to
13
     designated foreign terrorist organizations (18 U.S.C. § 2339B); aided and abetted and conspired
14
     with a designated FTO in the commission of acts of international terrorism as defined by 18 U.S.C.
15
     § 2331; and committed acts of international terrorism as defined by 18 U.S.C. § 2331. Accordingly,
16
17 Google is liable pursuant to 18 U.S.C. § 2333 to the plaintiffs, who were injured by reason of acts
18 of international terrorism.
19                                             THE PARTIES
20 A.       The Plaintiffs
21
            24.      Plaintiff Reynaldo Gonzalez is the father of Nohemi Gonzalez.
22
            25.      The Decedent, Nohemi Gonzalez, was a citizen of the United States at the time of
23
     her death.
24
25          26.      Plaintiff Beatriz Gonzalez is a citizen of the United States and is domiciled in the

26 United States. She brings claims individually and as the representative of the estate of her daughter,
27 Nohemi Gonzalez.
28                                                5
                  Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
          Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 6 of 94




             27.    Plaintiff José Hernandez is the step-father of Nohemi Gonzalez, and is a citizen of
 1
 2 the United States who is domiciled in the United States.
 3           28.    Plaintiffs Rey Gonzalez and Paul Gonzalez are the brothers of Nohemi Gonzalez.

 4 Plaintiff Ray Gonzalez is a United States legal resident, and Plaintiff Paul Gonzalez is a United
 5 States citizen.
 6
   B.      The Defendant
 7
           29.     Google, Inc. (“Google” or “Defendant”) is a corporation organized under the laws of
 8
   Delaware, with its principal place of business at 1600 Amphitheatre Parkway, Mountain View,
 9
10 California, 94043. Google owns and operates YouTube.
11                                     JURISDICTION AND VENUE
12           30.    Google is subject to the jurisdiction of this Court. Google is at home in the United
13
     States because it is a Delaware corporation with its principal place of business in California. Google
14
     may be found in this District and has an agent in this District.
15
             31.    This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §
16
17 1331 and 18 U.S.C. §§ 2333 and 2334, as this is a civil action brought by nationals of the United
18 States who have been killed or injured by reason of acts of international terrorism, and/or their
19 estates, survivors, and heirs.
20           32.    Venue is proper in this district pursuant to 18 U.S.C. § 2334(a).
21
                                        FACTUAL ALLEGATIONS
22
     I.      LEGAL BACKGROUND: ANTITERRORISM LEGISLATION
23
     A.      The Antiterrorism Act (“ATA”)
24
25           33.    In the 1980’s, terrorist groups carried out a number of major terror attacks around

26 the world, killing and injuring many Americans abroad.
27           34.    Among these terror attacks were:
28                                              6
                Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 7 of 94




                     a. The April 1983 suicide bombing of the U.S. Embassy in Beirut, Lebanon, killing 63
 1
 2                      people, including 17 Americans;

 3                   b. The October 1983 suicide bombing of U.S. Marine barracks in Beirut, Lebanon,

 4                      killing 241 U.S. Marines and injuring more than 100;
 5                   c. The December 1983 terrorist bombings of the U.S. Embassy and the residential
 6
                        quarters of American company Raytheon in Kuwait;
 7
                     d. The September 1984 terrorist bombing of a U.S. Embassy annex northeast of Beirut,
 8
                        Lebanon;
 9
10                   e. The June 1985 hijacking of TWA flight 847;

11                   f. The October 1985 hijacking of the Achille Lauro cruise ship and murder of

12                      wheelchair-bound American Leon Klinghoffer; and
13
                     g. The December 1985 terrorist bombings of the Rome and Vienna airports.
14
               35.      In response to these attacks, Congress in 1986 amended the U.S. Criminal Code,
15
     Title 18, Part I, to add a new chapter titled, “Extraterritorial Jurisdiction Over Terrorist Acts Abroad
16
17 Against United States Nationals.”
18             36.      This new chapter contained a new section titled, “Terrorist acts abroad against United

19 States nationals,” providing criminal penalties for killing, conspiring, or attempting to kill a national
20 of the United States, or engaging in physical violence with the intent to cause serious bodily injury
21
     to a national of the United States or that results in serious bodily injury to a national of the United
22
     States.
23
               37.      In addition, Congress later enacted the ATA, which established a private cause of
24
25 action for U.S. nationals injured by acts of international terrorism, as a legal complement to the
26 criminal penalties against terrorists that kill or injure Americans abroad.
27
28                                               7
                 Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 8 of 94




            38.     In enacting the ATA, Congress specifically intended that the civil cause of action
 1
 2 would not only provide a mechanism for compensating victims of terror, but also serve as an
 3 important means of depriving terrorists of financial resources to carry out attacks.
 4          39.     As the ATA was being considered in Congress, the State Department’s Deputy Legal
 5 Advisor, Alan J. Kreczko, testified before the Senate Judiciary Committee’s Subcommittee on
 6
   Courts and Administrative Practice that this proposed bill “will add to the arsenal of legal tools that
 7
   can be used against those who commit acts of terrorism against United States citizens abroad.”1
 8
          40.    The Deputy Legal Advisor also testified:
 9
10                  “[T]his bill will provide general jurisdiction to our federal courts and a
                    cause of action for cases in which an American has been injured by an act
11                  of terrorism overseas.

12                  We view this bill as a welcome addition to the growing web of law we are
                    weaving against terrorists. . . . The existence of such a cause of action . . .
13
                    may deter terrorist groups from maintaining assets in the United States,
14                  from benefiting from investments in the U.S. and from soliciting funds
                    within the U.S. In addition, other countries may follow our lead and
15                  implement complimentary national measures, thereby increasing obstacles
                    to terrorist operations.
16
                    Moreover, the bill may be useful in situations in which the rules of evidence
17
                    or standards of proof preclude the U.S. government from effectively
18                  prosecuting a criminal case in U.S. Courts. Because a different evidentiary
                    standard is involved in a civil suit, the bill may provide another vehicle for
19                  ensuring that terrorists do not escape justice.”2
20          41.     Likewise, Senator Grassley, one of the sponsors of the bill, explained a purpose of
21
     ATA’s civil cause of action as follows:
22
                    “The United States must take a strong stand against terrorism. The
23                  Department of State testified that this bill would add to the arsenal of legal
24
        1
         “Statement of Alan J. Kreczko, Deputy Legal Adviser, On S. 2465: A bill to provide a new
25
   civil cause of action in federal court for terrorist acts abroad against United States nationals,” Before
26 the Subcommittee on Courts and Administrative Practice of the Senate Judiciary Committee (July
   25, 1990), https://www.state.gov/documents/organization/28458.pdf.
27     2
         Id.
28                                                       8
              Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
        Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 9 of 94




                     tools that can be used against those who commit acts of terrorism against
 1                   U.S. citizens abroad.
 2                   ...
                     Now is the time for action. Now is the time to strengthen our ability to both
 3                   deter and punish acts of terrorism.

 4                   We must make it clear that terrorists’ assets are not welcome in our country.
                     And if they are found, terrorists will be held accountable where it hurts them
 5                   most: at their lifeline, their funds.”3
 6
              42.    In July 1992, a Senate Committee Report explained that the ATA’s treble damages
 7
     provision “would interrupt, or at least imperil, the flow of money” to terrorist organizations.4
 8
              43.    In October, 1992, Congress enacted ATA’s civil provisions, including 18 U.S.C. §
 9
10 2333.
11 B.         The “Material Support” Statutes and Regulations
12            44.    On February 26, 1993, a group of al-Qaeda terrorists detonated a truck bomb under
13
     the North Tower of the World Trade Center in New York City, attempting to cause the collapse of
14
     both towers and the death of thousands of Americans.
15
              45.    Although the damage from the World Trade Center bombing was limited, it
16
17 nevertheless killed six people and injured more than one thousand.
18            46.    In response, Congress again took aim at the resources available to terrorists in

19 September 1994, and enacted 18 U.S.C. § 2339A, making it a crime to provide material support or
20 resources to terrorists, knowing or intending that they would be used for terrorist acts.
21
              47.    In April 1996, Congress expanded the prohibition of providing material support or
22
     resources to terrorists by enacting 18 U.S.C. § 2339B, making it a crime to knowingly provide
23
24
25
        3
26       136 Cong. Rec. 26716-26717 (Oct. 1, 1990), https://www.gpo.gov/fdsys/pkg/GPO-CRECB-
     1990-pt19/pdf/GPO-CRECB-1990-pt19-1.pdf.
27      4
            S. Rep. No. 102-342 at 22 (1992).
28                                               9
                 Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
      Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 10 of 94




     material support or resources to a designated foreign terrorist organization, without regard to how
 1
 2 such support or resources will be used.
 3          48.     On the morning of September 11, 2001, several teams of al-Qaeda operatives carried

 4 out terrorist hijackings of civilian aircraft in the United States with the purpose of crashing them
 5 into various targets, causing enormous damage and mass murder (the “9/11 Attacks”).
 6
           49.     In the course of the 9/11 Attacks, al-Qaeda terrorists crashed two aircraft into the
 7
   World Trade Center towers, causing the fiery collapse of both towers, a third aircraft was crashed
 8
   into the U.S. military headquarters known as the Pentagon, and a fourth aircraft was crashed into a
 9
10 field.
11          50.     The 9/11 Attacks killed nearly 3,000 people and injured more than 6,000 others, and

12 caused more than $10 billion in damage to property.
13
            51.     On September 23, 2001, in response to the 9/11 Attacks, President George W. Bush
14
     issued Executive Order No. 13224 pursuant to the International Emergency Economic Powers Act,
15
     50 U.S.C. §§ 1701 et seq. (“IEEPA”).
16
            52.     In Executive Order No. 13224, President Bush found that “grave acts of terrorism
17
18 and threats of terrorism committed by foreign terrorists . . . and the continuing and immediate threat
19 of further attacks on United States nationals or the United States constitute an unusual and
20 extraordinary threat to the national security, foreign policy, and economy of the United States,” and
21
     he declared a national emergency to deal with such threats.
22
            53.     Executive Order No. 13224 legally blocked all property and interests in property of
23
     “Specially Designated Global Terrorists” (“SDGTs”), prohibited the provision of funds, goods, or
24
25 services for the benefit of SDGTs, and authorized the U.S. Treasury to block the assets of individuals
26 and entities that provide support, services, or assistance to, or otherwise associate with, SDGTs, as
27 well as their subsidiaries, front organizations, agents, and associates.
28                                             10
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
      Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 11 of 94




              54.    Executive Order No. 13224’s prohibitions remain in effect.
 1
 2            55.    Under the IEEPA, violation of Executive Order No. 13224 is a federal criminal

 3 offense. See 50 U.S.C. § 1705.
 4            56.    In the wake of the 9/11 Attacks, Congress passed the “PATRIOT Act” in October
 5 2001 and the “Intelligence Reform and Terrorism Prevention Act of 2004,” which amended the
 6
   “material support” statutes, 18 U.S.C. §§ 2339A-B, to increase the criminal penalties for violating
 7
   these statutes and to expand the definition of “material support or resources” prohibited thereby.
 8
   C.      The Justice Against Sponsors of Terrorism Act (“JASTA”)
 9
10            57.    In September 2016, Congress enacted JASTA, which amended the ATA’s civil

11 provisions to recognize causes of action for aiding and abetting and conspiring with foreign terrorist
12 organizations who plan, prepare, or carry out acts of international terrorism.
13
              58.    In enacting JASTA, Congress made a number of specific findings, including the
14
     following:
15
                     “Persons, entities, or countries that knowingly or recklessly contribute
16                   material support or resources, directly or indirectly, to persons or
                     organizations that pose a significant risk of committing acts of terrorism
17
                     that threaten the security of nationals of the United States or the national
18                   security, foreign policy, or economy of the United States, necessarily direct
                     their conduct at the United States, and should reasonably anticipate being
19                   brought to court in the United States to answer for such activities.”5
20            59.    Congress also specifically stated that the purpose of JASTA as follows:
21
                     “Purpose.--The purpose of this Act is to provide civil litigants with the
22                   broadest possible basis, consistent with the Constitution of the United
                     States, to seek relief against persons, entities, and foreign countries,
23                   wherever acting and wherever they may be found, that have provided
                     material support, directly or indirectly, to foreign organizations or persons
24                   that engage in terrorist activities against the United States.”6
25
26
        5
            JASTA § 2(a)(6).
27      6
            JASTA § 2(b).
28                                                11
                  Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 12 of 94




     II.    ISIS: A DESIGNATED FOREIGN TERRORIST ORGANIZATION
 1
 2 A.       Al-Zarqawi and the internet as a new weapon in the global terrorist’s arsenal

 3          60.     In the late 1980’s, Abu Musab al-Zarqawi (“al-Zarqawi”) left his native Jordan and

 4 traveled briefly to Afghanistan to join radical Islamists fighting against Soviet forces at that time.
 5          61.     When he returned to Jordan, al-Zarqawi adopted a goal of overthrowing the
 6
     Jordanian monarchy and establishing an Islamic state in Jordan, and formed a local radical Islamist
 7
     group called Jund al-Sham.
 8
            62.     In 1992, when a cache of guns and explosives were discovered in his home, al-
 9
10 Zarqawi was arrested and imprisoned in Jordan.
11          63.     After his release from prison in 1999, al-Zarqawi returned to Afghanistan, where he

12 met with al-Qaeda leader Osama Bin-Laden (“Bin-Laden”) and reportedly received $200,000 in
13
     “seed money” from Bin-Laden to establish a jihadi training camp near the border of Iran.
14
            64.     Al-Zarqawi soon formed a new radical Islamist terrorist group called “Jam’at al
15
     Tawhid wa’al-Jihad” (“The Monotheism and Jihad Group”), popularly known as “al-Tawhid” or
16
17 “The Zarqawi Network.”
18          65.     The following is a picture of al-Zarqawi and the al-Tawhid flag:

19
20
21
22
23
            66.     On September 23, 2003, the U.S. Treasury designated al-Zarqawi as a Specially
24
25 Designated Global Terrorist (“SDGT”) pursuant to Executive Order No. 13224.
26
27
28                                             12
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 13 of 94




            67.      Al-Zarqawi’s al-Tawhid was based upon a vision of Sunni Islamist eschatology in
 1
 2 which violent attacks on non-believers, heretics, and apostates are not only justified, but religiously
 3 mandated.
 4          68.      Al-Zarqawi taught that these attacks would lead to the establishment of an Islamic
 5 state and accelerate a global apocalyptic battle in which Islam would ultimately triumph and govern
 6
   the world.
 7
           69.     Al-Zarqawi’s successors, including the “Islamic State” today, maintain al-Zarqawi’s
 8
   vision of Islam, teaching that true Muslims have an obligation to engage in jihad (“holy war”), using
 9
10 intimidation, violence, and killing to establish Sunni Islamic dominance.
11          70.      At the beginning of 2004, Osama bin-Laden’s terrorist organization al-Qaeda—

12 having carried out the 9/11 Attacks on the United States—was still the dominant symbol of global
13
     terrorism.
14
            71.      In January 2004, al-Zarqawi reportedly sought to be officially recognized by bin-
15
     Laden as part of al-Qaeda’s global jihadi movement, but without success.
16
            72.      Over the course of 2004, al-Zarqawi began to use the internet to promote his
17
18 particularly savage form of jihad and gain widespread notoriety.
19          73.      While al-Zarqawi was not the first to use the internet to promote and engage in jihad,
20 he is known as a figure who embraced internet technology and communication to promote terrorism,
21
     taking terror on the internet to a new level.
22
            74.      Al-Zarqawi combined shocking images of graphic violence and cruelty with the
23
     internet to fashion a new psychological weapon in the service of terrorism.
24
25          75.      Terrorism analyst Rita Katz, director of the SITE Intelligence Group, explained:

26 “While Osama bin Laden traditionally relied on Al Jazeera [satellite television] and the media to
27
28                                                13
                  Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
      Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 14 of 94




     disseminate his propaganda, Zarqawi went straight to the internet, which enabled him to produce
 1
 2 graphic videos that would never have been shown on the mainstream media.”
                                                                             7



 3          76.    For example, on May 11, 2004, al-Zarqawi’s group posted a link on the jihadi

 4 internet website forum “Muntada al-Ansar al-Islami” (“Forum of the Islamic Supporters”) (“al-
 5 Ansar”) to a grainy five-and-a-half-minute video titled, “Sheikh Abu Musab Al-Zarqawi slaughters
 6
   an American infidel with his own hands” (the “Berg Video”).
 7
          77.     The Berg Video showed five hooded terrorists dressed in black standing behind
 8
   abducted Jewish-American businessman Nicholas Berg, who was sitting and dressed in an orange
 9
10 jumpsuit (reminiscent of the orange prison uniforms worn by captured terrorists held by the U.S. at
11 Guantanamo Bay).
12          78.    The following is a screen-clip from the Berg Video:
13
14
15
16
17
18          79.    The Berg Video next showed one of the hooded men (presumed to be al-Zarqawi)

19 read a statement condemning reported abuse of security prisoners at the Iraqi Abu Ghraib prison,
20 after which he pulled a knife from his shirt, stepped forward, and sawed off Berg’s head.
21
            80.    The al-Ansar internet forum quickly crashed due to the volume of traffic and
22
     attempted downloads of the Berg Video from the site.
23
24
25
26
        7
          Scott Shane, “Web Used As Tool of Terror,” Sun Sentinel (June 9, 2006), http://articles.sun-
27
     sentinel.com/2006-06-09/news/0606081728_1_al-zarqawi-al-jazeera-rita-katz.
28                                             14
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 15 of 94




            81.     Nevertheless, before the website crashed, forum members copied the Berg Video
 1
 2 from the al-Ansar forum to other sites and it was thus downloaded thousands of times and still
 3 circulates on the internet today.
 4          82.     Despite the relatively low quality of the Berg Video and the technical difficulties
 5 involved in its distribution, The Atlantic magazine later reported: “With the slash of a knife, al-
 6
   Zarqawi had pulled off the most successful online terrorist PR campaign ever . . . Al-Zarqawi’s
 7
   success was possible because he had anticipated the importance of the Internet—an increasingly
 8
   important weapon in the global terrorist arsenal.”8
 9
10          83.     Following the Berg Video, in June 2004 al-Zarqawi released the first part of a full

11 hour-long propaganda video titled, “The Winds of Victory.”
12          84.     The “Winds of Victory” video opened with nighttime bombing of the city of Baghdad
13
     by U.S. forces, while mocking captions flashed the words “Democracy” and “Freedom” in Arabic
14
     across the screen.
15
            85.     The nighttime bombing was then contrasted with graphic scenes in full daylight of
16
17 mutilated Iraqi children ostensibly injured by the attacks, and pictures showing abuse of Iraqi
18 captives held by American soldiers at Abu Ghraib prison.
19          86.     The “Winds of Victory” also featured foreign jihadi members from Kuwait, Saudi
20 Arabia, Libya, and other places, reading their wills in preparation for suicide missions, followed by
21
     footage of their bombing attacks, often from multiple angles.
22
            87.     As the release of “The Winds of Victory” preceded the development of YouTube, al-
23
     Zarqawi’s group did not have the internet capability to mass-distribute a single 90-megabyte video
24
25
26
        8
          Nadya Labi, “Jihad 2.0,” The Atlantic (July/August 2006), http://www.theatlantic.com/
27
     magazine/archive/2006/07/jihad-20/304980/.
28                                             15
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
      Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 16 of 94




     file, so the hour-long video had to be broken into chapters and released on internet jihadi forums
 1
 2 piecemeal over the course of several weeks.
 3          88.      In the months to come, al-Zarqawi and his followers continued to carry out and

 4 record more beheadings of foreign captives and post videos of these murderous atrocities on jihadi
 5 internet forums.
 6
           89.    Among the videos posted on jihadi internet forums of al-Zarqawi and his followers
 7
   beheading foreign captives in 2004 were the following:
 8
               a. Kim Sun-il, a South Korean interpreter and Christian missionary, beheaded in June
 9
10                   2004;

11                b. Georgi Lazov, a Bulgarian truck driver, beheaded in July 2004;

12                c. Mohammed Mutawalli, an Egyptian citizen, beheaded in August 2004;
13
                  d. Twelve Nepali citizens murdered on video, one was beheaded and the others were
14
                     shot, in August 2004;
15
                  e. Eugene Armstrong, a U.S. construction contractor, beheaded in September 2004;
16
                  f. Jack Hensley, a U.S. construction contractor, beheaded in September 2004;
17
18                g. Kenneth Bigly, a British civil engineer, beheaded in October 2004; and

19                h. Shosei Koda, a Japanese tourist, beheaded in October 2004.
20          90.      On October 15, 2004, the U.S. Government designated al-Zarqawi’s terrorist group
21
     al-Tawid as a “specially designated global terrorist” (“SDGT”) pursuant to Executive Order 13224,
22
     and as a designated “foreign terrorist organization” (“FTO”) pursuant to § 219 of the INA, 8 U.S.C.
23
     § 1189.
24
25          91.      These SDGT and FTO designations have been updated from time to time to include

26 ISIS’s various names and aliases including, among others, “al-Qaeda in Iraq,” “The Islamic State
27 of Iraq,” “The Islamic State of Iraq and Syria,” and “The Islamic State,” and remain in effect today.
28                                             16
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
      Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 17 of 94




            92.    Al-Zarqawi’s innovative—yet relatively low-tech—use of the internet to broadcast
 1
 2 his jihadi message together with graphic videos of beheadings and suicide bombings catapulted him
 3 to a new prominence.
 4          93.    According to BBC Security Correspondent Gordon Corera, “[o]ver the summer of
 5 2004 with Osama bin Laden yet to appear and Zarqawi carrying out increasingly bloody and high
 6
   profile attacks, some began to question whether Zarqawi was beginning to rival or even succeed bin
 7
   Laden.”9
 8
           94.     Corera explained that, even though al-Zarqawi’s terrorist group was estimated to
 9
10 have only between 50 to 500 members at this time, “they exercise[d] an exaggerated degree of
11 influence due to their coupling of extreme violence with an acute understanding of the power of the
12 media.”10
13
            95.    Al-Zarqawi become a figure al-Qaeda could not ignore: according to terrorism
14
     analyst Aaron Y. Zelin, founder of Jihadology.net, not only did bin-Laden not want to be “outdone”
15
     by al-Zarqawi, “bin-Laden himself wanted to ‘own’ the Iraq jihad as well as remain relevant while
16
17 hiding from the United States.”
                                   11



18          96.    In late 2004, al-Zarqawi finally received the official recognition he sought: on

19 October 17, 2004, al-Zarqawi declared allegiance to bin-Laden in an official online statement, and
20
21
22      9
          Gordon Corera, “Unraveling Zarqawi’s al-Qaeda Connection,” Terrorism Monitor, Vol. 2,
   Issue 24 (The Jamestown Foundation, Dec. 15, 2004), http://www.jamestown.org/programs/
23
   tm/single/?tx_ttnews%5Btt_news%5D=27306&tx_ttnews%5BbackPid%5D=179&no_cache=1#.
24 V49QsjXdlrZ.
       10
          Id.
25
       11
          Aaron Y. Zelin, “The War between ISIS and al-Qaeda for Supremacy of the Global Jihadist
26 Movement,” The Washington Institute for Near East Policy (June 2014), http://www.
   washingtoninstitute.org/uploads/Documents/pubs/ResearchNote_20_Zelin.pdf.
27
28                                             17
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 18 of 94




     al-Qaeda accepted and publicized al-Zarqawi’s oath to bin-Laden in its online magazine Mu’askar
 1
 2 al-Battar on October 25, 2004.
 3           97.    On December 27, 2004, Al Jazeera television broadcast an audiotape of bin-Laden

 4 calling al-Zarqawi “the prince of al Qaeda in Iraq” and asking “all our organization brethren to listen
 5 to him and obey him in his good deeds.”12
 6
          98.    Al-Zarqawi changed his group’s name to “Tanzim Qa’idat al-Jihad fi Bilad al-
 7
   Rafidayn” (“Organization of Jihad’s Base in the Land of Two Rivers [Iraq]”), and it became
 8
   commonly known as “al-Qaeda in Iraq” (“AQI”).
 9
10           99.    The following is a picture of the AQI flag:

11
12
13
14
15
             100.   The official connection with al-Qaeda not only provided al-Zarqawi with greater
16
     legitimacy among jihadi terrorists, it also gave him essential tangible resources, including access to
17
18 al-Qaeda’s important private donors and recruitment, logistics, and facilitation networks.
19           101.   By mid-2005, Lt. General David Petraeus assessed that al-Zarqawi had indeed
20 attained “an international name ‘of enormous symbolic importance’ . . . on a par with bin-Laden,
21
     largely because of his group’s proficiency at publicizing him on the Internet.”13
22
23
24
25      12
          “Purported bin Laden tape endorses al-Zarqawi,” CNN (Dec. 27, 2004), http://edition.cnn.
26 com/2004/WORLD/meast/12/27/binladen.tape/.
       13
          Susan B. Glasser and Steve Coll, “The Web as Weapon,” The Washington Post (Aug. 9, 2005),
27
   http://www.washingtonpost.com/wp-dyn/content/article/2005/08/08/AR2005080801018.html.
28                                                 18
              Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 19 of 94




             102.    However, al-Zarqawi’s notoriety was not without cost: on June 7, 2006, Al-Zarqawi
 1
 2 was targeted and killed by a U.S. airstrike.
 3 B.        AQI rebrands itself as the Islamic State of Iraq

 4           103.    Prior to Al-Zarqawi’s death, AQI and allied groups in Iraq joined together to create
 5 a “Mujahideen Shura Council.”
 6
           104. In October 2006, after al-Zarqawi’s death, the Mujahideen Shura Council released a
 7
   video declaring the establishment of what it called “The Islamic State of Iraq” (“ad-Dawlah al-‘Iraq
 8
   al-Islamiyah”) (“ISI”).
 9
10           105.    Although the video of the announcement of ISI was originally posted on jihadi

11 website forums, in December 2006 ISI supporters posted the video on YouTube.
12           106.    The following are screen clips from the video posted on YouTube with English
13
     subtitles:
14
15
16
17
18
19
             107.    The United States and its allies, nevertheless, generally continued to call the group
20
     “al-Qaeda in Iraq” or AQI.
21
22           108.    Although ISI’s reach was still limited, its goal was to take control of the western and

23 central areas of Iraq and turn it into a Sunni Islamic religious state.
24           109.    The following is a picture of the ISI flag (which also remains the flag of ISIS):
25
26
27
28                                                19
                  Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 20 of 94




 1
 2
 3
 4
 5 C.          ISI expands into Syria to become ISIS
 6
               110.   On May 16, 2010, ISI announced Abu Bakr al-Baghdadi (“Abu Bakr”) as its new
 7
     leader.
 8
               111.   On April 8, 2013, Abu Bakr announced that ISI had been responsible for secretly
 9
10 establishing and supporting an Islamist militant group known as “al-Nusra” in neighboring Syria
11 since August 2011.
12             112.   In his announcement, Abu Bakr declared that ISI and al-Nusra were now officially
13
     merged under the name “ad-Dawlah al-Islamiyah fil-‘Iraq wash-Sham” (“The Islamic State of Iraq
14
     and Syria” or “ISIS”14).
15
               113.   The Syrian leader of al-Nusra rejected Abu Bakr’s merger announcement, but many
16
     al-Nusra members, particularly those who were foreign-born, shifted their allegiance to ISIS.
17
18             114.   ISIS took advantage of this shift to establish a substantial official presence in Syria

19 almost overnight, and to take control of additional Syrian areas in the following months, including
20 the northeastern Syrian city of Raqqa, which ISIS declared as its capital.
21
               115.   ISIS imposed its own strict sharia (Islamic law) on Raqqa’s 220,000 inhabitants, and
22
     declared members of other Muslim sects in the city to be infidels.
23
24
25
       14
          The Arabic “al-Sham” can be understood as either Syria or the Levant, the latter being an
26 historically broader term. The English acronyms “ISIS” and “ISIL” have thus both been used to
   identify the same terrorist organization depending upon translation. ISIS is also known (primarily
27
   by its detractors) as “DAESH,” an acronym based upon its Arabic name.
28                                                 20
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 21 of 94




              116.   ISIS jailed, maimed, or killed its opponents in the city of Raqqa, or those whom ISIS
 1
 2 accused of engaging in activities ISIS considered anti-Islamic.
 3            117.   ISIS subjugated the city of Raqqa through terror and fear, with its members patrolling

 4 the city wearing explosive suicide vests, killing, beheading, and crucifying some of its victims and
 5 leaving their remains in the public square.
 6
          118. Ultimately, ISIS’s extreme brutality and ruthlessness even led al-Qaeda’s leader
 7
   Ayman al-Zawahiri (who succeeded Osama bin-Laden) to disavow ISIS.
 8
          119. On February 3, 2014, al-Zawahiri declared that al-Qaeda had cut all ties with ISIS.
 9
10 D.         ISIS proclaims an Islamic Caliphate on YouTube and expands its reach of terror

11            120.   On June 29, 2014, ISIS used YouTube to post a video titled “The End of Sykes-

12 Picot,” in which ISIS announced that it would annul the Sykes-Picot Agreement that had served as
13
     the basis for the nation-states of the Middle East, and shatter all the borders to form a single Islamic
14
     state.
15
              121.   The following is a screen clip from the ISIS video “The End of Sykes-Picot”:
16
17
18
19
20
21
              122.   Also on June 29, 2014, ISIS used YouTube to post an audio message titled “This is
22
     the Promise of Allah,” in which ISIS spokesman Abu Muhammad al-Adnani declared the
23
24
25
26
27
28                                              21
                Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
      Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 22 of 94




     establishment of ISIS as a worldwide “Islamic Caliphate”15—an Islamic religious state to which all
 1
 2 Muslims must submit and pledge fealty—with Abu Bakr as its “Caliph” (ruler).
 3           123.   The following is an ISIS graphic promoting the video “This is the Promise of Allah”:

 4
 5
 6
 7
 8           124.   ISIS has claimed that it is destined to establish its rule worldwide.

 9           125.   Several smaller Islamist terrorist groups have taken control of territory within other

10 countries and areas, including Libya, Yemen, and the Sinai Peninsula, and have claimed such
11 territories to be “provinces” of the ISIS Caliphate.
12
   E.       Official terrorist designations of ISIS
13
            126. Not only have ISIS’s claims of statehood and sovereignty been rejected by countries
14
   worldwide, ISIS has been officially designated as a terrorist organization by the United Nations, the
15
16 European Union, and numerous governments around the world, including the United States, Britain,
17 Australia, Canada, Turkey, Saudi Arabia, Indonesia, the United Arab Emirates, Malaysia, Egypt,
18 India, Russia, Kyrgyzstan, Syria, Jordan, and Pakistan.
19
             127.   Since October 15, 2004 and still today, ISIS is a designated foreign terrorist
20
     organization (“FTO”) pursuant to § 219 of the Immigration and Nationality Act, 8 U.S.C. § 1189.
21
             128.   Knowingly providing material support or resources to ISIS, a designated FTO, is a
22
23 federal criminal offense under 18 U.S.C. § 2339B.
24
25
26
        15
            At this time, ISIS shortened its named to ad-Dawlah al-Islamiyah (“The Islamic State” or
27
     “IS”). For the sake of simplicity, the more commonly used name ISIS is used in this Complaint.
28                                             22
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 23 of 94




            129.     Since October 15, 2004 and still today, ISIS is a specially designated global terrorist
 1
 2 (“SDGT”) under Executive Order No. 13224.
 3          130.     Federal law prohibits “making of any contribution or provision of funds, goods, or

 4 services by, to, or for the benefit of any [SDGT],” including ISIS, and a violation of these
 5 prohibitions is a federal criminal offense. 31 C.F.R. § 594.204; 50 U.S.C. § 1705.
 6
   III.   ISIS’S EXTENSIVE USE OF GOOGLE’S SERVICES
 7
   A.     Google’s Services
 8
          131. Google provides sophisticated yet easy-to-use online products and services
 9
10 (collectively, “Services”), including the online video platform known as “YouTube.”
11          132.     Google’s Services include use of Google’s computer infrastructure, network,

12 applications, tools and features, communications services, and more.
13
            133.     Certain uses or features of Google’s Services are only available to its registered users,
14
     who register and establish an account with Google by inputting identifying information and clicking
15
     on a “sign up” button.
16
            134.     For example, only registered users may establish a YouTube “channel,” post videos
17
18 on Google’s YouTube platform, or post comments on the page of a YouTube channel or video.
19          135.     Is it not necessary to view the “Terms of Service” or other policies or conditions of
20 Google’s Services to proceed with registration.
21
            136.     Google’s YouTube platform can be used to post and distribute videos publicly, or
22
     privacy settings are available to enable users to communicate, share, or distribute videos or messages
23
     privately.
24
25          137.     Google enables registered users to “subscribe” to YouTube “channels” in order to

26 receive notifications of new videos or messages posted on those channels.
27
28                                                23
                  Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 24 of 94




              138.   Google generally provides its YouTube platform and services to registered users free
 1
 2 of charge.
 3 B.         ISIS and YouTube

 4            139.   Google’s YouTube platform has played an essential role in the rise of ISIS to become
 5 the most feared terrorist organization in the world.
 6
          140. ISIS’s use of violence and threats of violence is calculated and intended to have an
 7
   impact far beyond the harm inflicted upon the individual victims of an attack.
 8
          141. ISIS’s use of violence and threats of violence is part of its program of terrorism,
 9
10 designed inter alia to gain attention, instill fear and “terror” in others, send a message, and obtain
11 results.
12            142.   In other words, the physical attack itself and the harm to the individual victims of the
13
     attack are not the only goal or “end” of ISIS’s terror attacks; rather, ISIS uses terror attacks as a
14
     “means” to communicate and accomplish its broader objectives.
15
              143.   ISIS uses terrorism as a psychological weapon.
16
              144.   Thus, the messages communicated before, during, and after an ISIS terror attack, as
17
18 well as the attack itself, are essential components of generating the physical, emotional, and
19 psychological impact ISIS desire to achieve via the terrorist attack.
20            145.   The impact and effectiveness of ISIS terrorism, and its motivation to carry out more
21
     terrorist attacks, are dependent upon ISIS’s ability to communicate its messages and reach its
22
     intended audiences, without intermediaries and without interference.
23
              146.   YouTube provides ISIS with a unique and powerful tool of communication that
24
25 enables ISIS to achieve these goals, and it has become an essential and integral part of ISIS’s
26 program of terrorism.
27
28                                              24
                Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
      Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 25 of 94




            147.    YouTube enables ISIS to communicate its messages directly to intended audiences
 1
 2 without having to go through the filter of commercial media, and it enables ISIS to have greater
 3 access to the commercial media to further its goals as well.
 4          148.    ISIS not only uses YouTube for recruiting, planning, inciting, and giving instructions
 5 for terror attacks, ISIS also uses YouTube to issue terroristic threats, attract attention to its terror
 6
   attacks and atrocities, instill and intensify fear from terror attacks, intimidate and coerce civilian
 7
   populations, take credit for terror attacks, communicate its desired messages about the terror attacks,
 8
   reach its desired audiences, demand and attempt to obtain results from the terror attacks, and
 9
10 influence and affect government policies and conduct.
11          149.    ISIS thus uses YouTube to actually carry out essential communication components

12 of ISIS’s terror attacks.
13
            150.    Simply put, ISIS uses YouTube as a tool and a weapon of terrorism.
14
            151.    Moreover, by allowing ISIS and its affiliates to register for YouTube accounts and
15
     use Google’s Services, YouTube lends a sense of authenticity and legitimacy to ISIS as an
16
17 organization that can operate openly and with impunity, notwithstanding the murderous crimes it
18 commits and its status as an illegal terrorist organization.
19          152.    In defiance of federal criminal laws that prohibit providing services to designated
20 terrorists, Google enables ISIS terrorists to come out of hiding and present a public face under their
21
     own brand and logo, and under the brands and logos of an American company: Google and
22
     YouTube.
23
            153.    Google’s provision of support to ISIS is not simply a matter of whether ISIS abuses
24
25 its use of Google’s Services, or whether Google abuses its editorial judgment regarding the content
26 of ISIS’s videos; under federal law, Google has no discretion about whether to provide its Services
27 to ISIS—it is prohibited by law from doing so.
28                                              25
                Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 26 of 94




             154.   ISIS has used YouTube as an extremely effective means of announcing and releasing
 1
 2 its propaganda materials, which include music, speeches, graphic acts of violence, full-length videos
 3 and more, presenting an image of technical sophistication and advanced media capabilities.
 4           155.   In November 2006, following the development of YouTube, ISIS (then known as
 5 AQI/ISI) announced the establishment of its “al-Furqan Institute for Media Production” (“al-
 6
   Furqan Media”), which was to produce more professional and stylized video and other materials to
 7
   be disseminated through online platforms.
 8
           156. Al-Furqan Media’s logo appears as follows:
 9
10
11
12
13
14
             157.   In a press release announcing Al-Furqan Media, ISIS stated: “This Institute is a
15
     milestone on the path of Jihad; a distinguished media that takes the great care in the management of
16
     the conflict with the Crusaders [Western nations] and their tails [sic] and to expose the lies in the
17
18 Crusaders’ media.”
                      16


19           158.   Following a raid on one of ISIS’s al-Furqan Media offices in Samarra, Iraq in June
20 2007, Brigadier General Kevin Bergner, a spokesman for the Multinational Forces Iraq, described
21
     the extensive scope of the office’s operations as follows:
22
                    “[The Samarra office] produced CDs, DVDs, posters, pamphlets, and web-
23                  related propaganda products and contained documents clearly identifying al
                    Qaeda in Iraq[/ISI]’s intent to use media as a weapon.
24                  ...
25
26
        16
           See Bill Roggio, “US targets al Qaeda’s al Furqan media wing in Iraq,” The Long War Journal
27
     (Oct. 28, 2007), http://www.longwarjournal.org/archives/2007/10/us_targets_al_qaedas.php.
28                                             26
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
      Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 27 of 94




                      The building contained 65 hard drives, 18 thumb drives, over 500 CDs and
 1                    12 stand-alone computers . . . In all, this media center had the capacity of
 2                    reproducing 156 CDs in an eight-hour period and had a fully functioning
                      film studio.
 3                    ...
                      [U.S. forces also found] a sampling of other propaganda documents: a letter
 4                    that gives instructions on how to use the media to get out the al Qaeda [in
                      Iraq/ISI] message most effectively; an al Qaeda [in Iraq/ISI] activity report
 5                    highlighting car bomb, suicide, missile, mortar, sniping and IED
 6                    [improvised explosive device] attacks; a propaganda poster that encourages
                      filming and distributing videos, showing al Qaeda [in Iraq/ISI] attacks on
 7                    coalition forces; and a pamphlet and a CD cover of their sniper school.”17

 8            159.    ISIS’s al-Furqan Media has used YouTube extensively to distribute its video
 9
     propaganda online.
10
              160.    In 2013, ISIS began a dramatic new expansion of its media production capabilities
11
     and exploitation of YouTube and other social media.
12
              161.    In March 2013, ISI announced the formation of a second ISI media production arm
13
14 known as “al-I’tisam Media Foundation” (“al-I’tisam Media”), in addition to its already well-
15 established al-Furqan Media.
16            162.    Al-I’tisam Media’s logo appears as follows:
17
18
19
20
21
22            163.    In August 2013, ISIS announced the formation of a third media production arm, the

23 “Ajnad Foundation for Media Production” (the “Ajnad Foundation”), specializing in audio content
24 that would also be distributed via YouTube as music videos, Islamic inspirational songs (“nashids”)
25
26
27      17
             Id.
28                                                 27
                   Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 28 of 94




     that accompany ISIS videos, as well as sermons, Quran readings, and other indoctrination to be
 1
 2 posted on YouTube.
 3          164.    The ISIS nashids are emotionally powerful musical chants, and ISIS terrorists have

 4 reportedly used recordings of these nashids that are posted on YouTube to pump up their emotions
 5 and excitement prior to carrying out an attack.
 6
          165. The Ajnad Foundation’s logo appears as follows:
 7
 8
 9
10
11
12          166.    In May 2014, ISIS launched a fourth media production department named “al-Hayat
13
     Media Center” (“al-Hayat Media”) specifically to target Western and non-Arabic-speaking
14
     audiences, producing and distributing material in many languages, including English, French,
15
     Dutch, German, Turkish, Russian, and more, to be distributed via YouTube in conjunction with
16
     other internet platforms.
17
18          167.    Al-Hayat Media’s logo appears as follows:

19
20
21
22
23
            168.    With its highly developed media production departments and various branded media
24
25 outlets, ISIS has been able to create and distribute via YouTube video propaganda, recruitment, and
26 operational campaigns that are exceptionally professional, sophisticated, and effective.
27
28                                             28
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 29 of 94




             169.   Amb. Alberto Fernandez, Vice-President of the Middle East Media Research
 1
 2 Institute (“MEMRI”) and former Coordinator for Strategic Counter-Terrorism Communications at
 3 the U.S. Department of State, has called ISIS’s media materials, “the gold standard for propaganda
 4 in terms of its quality and quantity.”18
 5           170.   Essential to the success of its media and terror campaigns—and to the success of
 6
     ISIS—has been ISIS’s use of YouTube to disseminate its videos and messages and execute its
 7
     propaganda, recruitment, and operational campaigns; indeed, all of ISIS’s media production
 8
     departments described above have used YouTube for this purpose.
 9
10           171.   ISIS has used YouTube to disseminate videos of its brutality and conquests as a

11 psychological weapon to strike fear in its enemies.
12           172.   For example, in October 2013, ISIS used YouTube to post a video of a prison break
13
     at the Abu Ghraib prison in Iraq, and its subsequent execution of Iraqi army officers, which served
14
     to intimidate soldiers in the Iraqi army.
15
             173.   The following is an ISIS graphic promoting ISIS’s October 2013 Abu Ghraib video:
16
17
18
19
20
21
22
23
24
25
26       Dr. Erin Marie Saltman & Charlie Winter, “Islamic State: The Changing Face of Modern
        18

   Jihadism,” Quilliam (Nov. 2014), https://www.quilliamfoundation.org/wp/wp-content/
27
   uploads/publications/free/islamic-state-the-changing-face-of-modern-jihadism.pdf.
28                                                 29
             Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 30 of 94




            174.    In contrast to the days before the development of YouTube, when al-Zarqawi was
 1
 2 limited to releasing short, low-quality videos, on websites that could only handle limited traffic,
 3 Google’s YouTube platform and services provide ISIS with the ability to produce and disseminate
 4 professional-quality feature films of any length to an unlimited audience.
 5          175.    For example, on March 17, 2014, ISIS’s al-I’tisam Media used YouTube to release
 6
     an hour-long highly-graphic video titled, “The Clanging of the Swords 4,” produced by ISIS’s al-
 7
     Furqan Media.
 8
            176.    The terrorism analysis website Jihadica.com reported that within 24 hours of the
 9
10 video’s publication on YouTube, “The Clanging of the Swords 4” had been viewed 56,998 times.
                                                                                                19


11          177.    ISIS has used YouTube to raise its profile among terror groups and even overtake

12 older jihadist competitors like al-Qaeda.
13
            178.    ISIS uses YouTube to disseminate its propaganda in video to both Muslims and non-
14
     Muslims, with the effect of instilling fear and terror in the “non-believers” while encouraging others
15
     to join in ISIS’s cause.
16
            179.    ISIS also uses YouTube to communicate with ISIS “sympathizers” and to provide
17
18 them with directions as well.
19          180.    ISIS has engaged, and continues to engage, in horrific terrorist atrocities against
20 civilians/non-combatants in every area it has operated, and has posted videos of such activity on
21
     YouTube to spread even more fear.
22
23
24
25
26         Nica Prucha, “Is this the most successful release of a jihadist video ever?” Jihadica.com
            19

   (May 19, 2014), http://www.jihadica.com/is-this-the-most-successful-release-of-a-jihadist-video-
27 ever/.
28                                               30
                 Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 31 of 94




             181.    ISIS has kidnapped innocent civilians and made various demands for their release,
 1
 2 and it has carried out numerous beheadings, crucifixions, public executions, and mass-murders of
 3 its enemies and people it considers “apostates” or “infidels,” all in front of the cameras for the
 4 purpose of posting videos of these atrocities on YouTube.
 5           182.    ISIS has directed and overseen the systematic rape and enslavement of captive
 6
     women and girls, and has conducted a program of genocide against religious and ethnic groups,
 7
     even promoting the sale of women as slaves on YouTube.
 8
             183.    ISIS has enforced its own strict interpretations of Islamic law in the areas it has
 9
10 captured, meting out punishments including whipping, amputation, and death to those who fail or
11 refuse to comply, again using YouTube to post videos praising these punishments.
12           184.    ISIS has paraded captives before cameras and forced them to give statements for ISIS
13
     propaganda, and it has become infamous for its use of YouTube to broadcast worldwide its cruel
14
     and ever-unusual executions of captives for their shocking and terror-inducing effect.
15
             185.    Using YouTube and other social media, ISIS has recruited, and continues to recruit,
16
17 individuals from all over the world to travel to Syria and Iraq for the purpose of joining its ranks
18 and participating in its terrorist activities and atrocities.
19           186.    Tens of thousands of people from around the world have viewed ISIS’s propaganda
20 on YouTube and have been persuaded to travel to Syria and Iraq to join ISIS and engage in its jihad.
21
             187.    ISIS’s use of YouTube has enabled the terrorist organization to produce and
22
     distribute high-quality videos by dedicated professional ISIS media personnel.
23
             188.    For example, in June 2014, ISIS’s al-Hayat Media used YouTube to launch and
24
25 propagate a series of videos called the “MujaTweets,” claiming to show “snippets of day-to-day life
26 in the ‘Islamic State’” to portray life under ISIS as peaceful and normal.
27
28                                              31
                Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
      Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 32 of 94




             189.   The Huffington Post described the quality of ISIS’s propaganda videos as follows:20
 1
 2                  When it comes to producing recruitment and propaganda
                    videos…unaffiliated supporters leave room to a much smaller group of
 3                  official ISIS members. This mainly consists of professional filmmakers
                    working directly for the Islamic State. Their use of high definition video
 4                  cameras, slick graphics and refined editing techniques has elevated the
                    quality of the videos produced to Hollywood standards. One series of video
 5                  clips called Mujatweets, released by ISIS’ media arm on YouTube, portrays
 6                  a number of ISIS militants as they engage in noble activities such as visiting
                    an injured fighter at the hospital or distributing candies to some children.
 7                  Episodes are filmed in HD, contain sophisticated graphics and logos, and
                    include English subtitles—a sign of how the message is explicitly intended
 8                  for second generation immigrants, especially the young.
 9
             190.   In September 2014, ISIS used YouTube to release an animated recruitment video set
10
     to the entrancing sounds of ISIS’s militant Islamist nasheed chant and titled “Grand Theft Auto:
11
     Salil al-Sawarem [‘Clanging of the Swords’],” ostensibly announcing the release of an ISIS
12
     videogame modeled after a famous PlayStation interactive videogame titled “Grand Theft Auto”
13
14 that sold 27.5 million copies.
15           191.   The following are screen clips from the ISIS YouTube video “Grand Theft Auto:
16 Salil al-Sawarem:
17
18
19
20
21
22
23
24
25
         Alessandro Bonzio, “ISIS’ Use of Social Media Is Not Surprising; Its Sophisticated Digital
        20
26 Strategy Is,” The Huffington Post (Nov. 14, 2014), http://www.huffingtonpost.co.uk/alessandro
   bonzio/isisuseofsocialmedia_b_5818720.html.
27
28                                             32
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 33 of 94




              192.   In releasing its video-version of “Grand Theft Auto” on YouTube, which depicted
 1
 2 an ISIS terrorist shooting a policeman and attacking a convoy of army trucks and jeeps, ISIS
 3 announced that its purpose was to “raise the morale of the mujahedin [“holy warriors”] and to train
 4 children and youth how to battle the West and to strike terror into the hearts of those who oppose
 5 the Islamic State.”21
 6
           193. Through its use of YouTube and other social media, ISIS has recruited more than
 7
   30,000 foreign recruits since 2014, including some 4,500 Westerners and 250 Americans.
 8
           194. ISIS has used YouTube to indoctrinate and radicalize potential recruits and
 9
10 followers, providing a constant stream of religious teachings, mantras, and images showing the
11 “truth” of ISIS’s doctrines and the “heresy” of other groups, particularly Christians, Jews, and non-
12 Sunni Muslims
13
              195.   ISIS has used YouTube to indoctrinate and provided training to these recruits, and
14
     has sent many of them to return to their home countries to carry out terrorist attacks there.
15
              196.   ISIS has also used, and continues to use, YouTube to solicit and recruit individuals
16
17 to remain in their home countries to carry out terrorist attacks there.
18            197.   These efforts have been particularly directed at citizens of countries participating in

19 efforts to suppress and defeat ISIS in Syria and Iraq, including the United States, England, France,
20 Belgium, and Russia, and ISIS has also used YouTube to provide indoctrination, training and
21
     inspiration to these recruits to carry out terrorist attacks.
22
              198.   ISIS’s use of violence against civilians is politically motivated, and intended to
23
     intimidate and coerce the civilian populations where it carries out such violence, to influence the
24
25
26        Paul Crompton, “Grand Theft Auto: ISIS? Militants reveal video game,” Al Arabiya News
         21

   (Sept.     20, 2014), http://english.alarabiya.net/en/variety/2014/09/20/Grand-Theft-Auto-ISIS-
27
   Militants-reveal-video-game.html.
28                                                33
              Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 34 of 94




     policies of governments, and to affect the policy of governments through kidnapping, assassination,
 1
 2 and mass destruction.
 3           199.    ISIS has used YouTube to indoctrinate and radicalize potential recruits and

 4 followers, providing a constant stream of religious teachings, mantras, music videos, and other
 5 images showing the “truth” of ISIS’s doctrines and the “heresy” of other groups, particularly
 6
   Christians, Jews, and non-Sunni Muslims.
 7
           200. ISIS has used YouTube to exaggerate its expansion territorially by disseminating
 8
   videos with maps showing areas ISIS claims to control as well as other regions where other groups
 9
10 have allegedly pledged allegiance to ISIS.
11           201.    ISIS has used YouTube to generate sympathy by showing images of women and

12 children allegedly injured or killed by the enemies of ISIS.
13
             202.    ISIS uses YouTube as a psychological weapon to project strength, brutality,
14
     superiority, and invincibility, and to instill fear, awe, and terror.
15
             203.    ISIS regularly records the executions of large groups of local prisoners in order to
16
17 intimidate and demoralize its opposition, and then uses YouTube to make these videos, mixed and
18 produced with drama and set to music, “go viral” on the internet and into the mainstream media.
19           204.    ISIS also used YouTube to post a series of videos of beheadings together with
20 political messages and warnings to the West.
21
             205.    On August 19, 2014, ISIS used YouTube to post a video in English titled “A Message
22
     to America,” showing the beheading of American journalist James Foley by a hooded man with a
23
     British accent, later known as “Jihadi John.”
24
25           206.    The following are screen clips from the August 19, 2014 video:

26
27
28                                              34
                Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 35 of 94




 1
 2
 3
 4
 5           207.    In the YouTube video of Foley’s murder, ISIS also showed another captive
 6
     American, Steven Sotloff, and threatened that his fate would be the same if the U.S. did not cease
 7
     all attacks against ISIS.
 8
             208.    On September 2, 2014, ISIS used YouTube to post a video titled “A Second Message
 9
10 to America,” showing the beheading of Steven Sotloff, and threatening to murder Britain David
11 Hanes.
12           209.    The following are screen clips from the September 2, 2014 video:
13
14
15
16
17
18           210.    On September 13, 2014, ISIS used YouTube to post a video titled “A Message to the

19 Allies of America,” showing the beheading of David Haines, a British aid worker, and threatening
20 to murder Britain Alan Henning.
21
             211.    The following is a screen clip from the September 13, 2014 video:
22
23
24
25
26
27
28                                              35
                Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 36 of 94




            212.    On October 3, 2014, ISIS used YouTube to post a video titled “Another Message to
 1
 2 America and its Allies,” showing the beheading of Alan Henning, a British aid worker, and
 3 threatening to murder American Peter Kassig.
 4          213.    The following is a screen clip from the October 3, 2014 video:
 5
 6
 7
 8
 9
10          214.    On November 16, 2014, ISIS used YouTube to post a video titled “Although the

11 Disbelievers Will Not Like It,” which opened with an ISIS propaganda map showing areas that had
12 been declared “provinces” of the ISIS “Caliphate” and a speech by ISIS leader Abu Bakr (who took
13
     the name Khalifah Ibrahim al-Badri) accepting oaths of loyalty purportedly made from various
14
     terrorist leaders of these “provinces.”
15
            215.    The following are screen clips from the November 16, 2014 video:
16
17
18
19
20
21
22          216.    The video shows action scenes of Christians, Shiite Muslims, and Americans being

23 killed by ISIS jihadis, contrasted with bloody images of children depicted as victims of enemy
24 attacks.
25
26
27
28                                              36
                Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
      Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 37 of 94




            217.   The video continues with a procession of about 18 bound captives said to be Syrian
 1
 2 pilots, who are forced to kneel and are beheaded before the camera by ISIS terrorists, all set to the
 3 sound of the militant ISIS nashid musical chant familiar to many ISIS videos.
 4          218.   The following are additional screen clips from the November 16, 2014 video:
 5
 6
 7
 8
 9
10
11
12
13
14
            219.   Just before the beheading are shown in the video, ISIS executioner “Jihadi John”
15
     makes the following statement:
16
                   “To Obama, the dog of Rome, today we are slaughtering the soldiers of
17
                   [Syrian President] Bashar [al Assad] and tomorrow we’ll be slaughtering
18                 your soldiers. And with Allah’s permission we will break this final and last
                   crusade. And the Islamic State will soon, like your puppet David Cameron
19                 said, will begin to slaughter your people in your streets.”

20          220.   After the beheadings, the video shows the bodies of the captives on the ground with
21
     their severed heads placed atop their backs and pools of blood on the ground.
22
            221.   In the final minute of the video, the scene changes to “Jihadi John” standing alone
23
     by another severed head on the ground, which he says is that of American Peter Kassig, as the
24
25 terrorist announces another threat to America and its allies.
26
27
28                                             37
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 38 of 94




             222.    On February 3, 2015, ISIS’s al-Furqan Institute used YouTube to post a video titled
 1
 2 “Healing a Believer’s Chest,” which showed Jordanian pilot Mu’adh Al-Kasasbeh (who had been
 3 captured by ISIS) being burned alive in a cage.
 4           223.    The following are scenes from the “Healing a Believer’s Chest” video that ISIS
 5 posted on YouTube:
 6
 7
 8
 9
10
11           224.    On February 15, 2015, ISIS used YouTube to post a video titled “A Message Signed

12 With Blood To The Nation Of The Cross,” showing the beheading of 21 Coptic Christian men ISIS
13
     had captured in Libya.
14
             225.    The following is a screen clip from the February 15, 2015 video:
15
16
17
18
19
20           226.    ISIS has also used YouTube to post videos of other cruel executions, including
21 numerous beheadings and crucifixions, discharging explosives attached to captives, slowly lowering
22
   caged captives into water to drown, and more.
23
            227. ISIS’s ability to use YouTube to disseminate around the world its message, evidence
24
   of its atrocities, and an image of invincibility, not only intensifies the intimidation it creates, but also
25
26 motivates and emboldens its members and followers to carry out even more terrorist attacks.
27           228.    ISIS has also used YouTube to raise funds for its terrorist activities.
28                                              38
                Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 39 of 94




            229.    ISIS has used YouTube to inflame Muslim emotions and incite violence against non-
 1
 2 Muslims, and to glorify terrorist “martyrs” and jihad.
 3          230.    ISIS has used YouTube to direct viewers to other online sites, postings, media, and

 4 other social network media.
 5          231.    Thus, ISIS has used YouTube as a platform from which followers can access not
 6
     only YouTube videos and comments, but also other websites, Facebook pages, Twitter accounts,
 7
     and other online social network media.
 8
            232.    ISIS has used YouTube as a means to communicate its messages to the broader news
 9
10 media.
11          233.    ISIS has used YouTube accounts, channels, subscriptions, and messages to build and

12 maintain networks.
13
            234.    In June 2015, it was reported that ISIS had released at least 830 videos just since
14
     2013, an average of 21 videos each month.
15
            235.    YouTube is especially useful to ISIS because, among other things, it is provided free
16
17 of charge, allows unlimited usage, offers the ability to reach an enormous number of users
18 instantaneously, provides the ability to distribute videos without disclosing location, enables like-
19 minded users to connect and communicate, affords both public and private communications, and
20 integrates other social media platforms and services.
21
            236.    YouTube is also readily available, easy-to-use, and enables registered users to share
22
     videos, large and small, using Google’s computer servers via the internet.
23
            237.    Moreover, the money ISIS saves by using YouTube frees up funds for ISIS to devote
24
25 to even more terrorist attacks.
26
27
28                                             39
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 40 of 94




            238.    In all of these ways and more, Google’s Services have played an essential role in
 1
 2 enabling ISIS to grow, develop, and project itself as the most feared terrorist organization in the
 3 world.
 4          239.    The sophisticated technological capabilities that Google’s Services give to ISIS have
 5 had an enormous impact on ISIS’s methods and success in recruiting, indoctrination, training,
 6
   conducting terrorist operations, and engaging in psychological warfare.
 7
   IV. ISIS’S NOVEMBER 13, 2015 PARIS ATTACK
 8
   A. Introduction
 9
10          240.    On November 13, 2015, ISIS carried out a horrific terrorist attack in Paris, France,

11 murdering 130 people, including Nohemi Gonzalez, and injuring hundreds more (the “Paris
12 Attack”).
13
            241.    The Paris Attack was intended: a) to intimidate and coerce the civilian populations
14
     of France, the United States, and other countries engaged in activities against ISIS; b) to influence
15
     the policies of these governments by intimidation and coercion; and c) to affect the conduct of these
16
17 governments by mass destruction, assassination, and kidnapping.
18          242.    Indeed, a major component of the Paris Attack was the messaging disseminated by

19 ISIS prior to, during, and after the events, in which ISIS stated its reasons for committing the terrorist
20 attack against these countries’ civilians.
21
            243.    The Paris Attack involved extensive planning, recruiting, organization, training,
22
     preparation, coordination, and funding.
23
            244.    It also involved the use of YouTube, before and after the attack, to intensify the fear
24
25 and intimidation that ISIS intended to inflict by this mass casualty attack.
26          245.    ISIS used Google’s YouTube platform and services to facilitate and accomplish all

27 of these things.
28                                              40
                Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
      Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 41 of 94




     B.     Recruiting and Planning
 1
 2          246.    The Paris Attack involved three coordinated teams of ISIS terrorists that carried out

 3 terrorist attacks in Paris in the evening of November 13, 2015.
 4          247.    To date, the following twelve ISIS terrorists have been identified as being directly
 5 involved in the Paris Attacks:
 6
              a. Abdelhamid Abaaoud (a Belgian national);
 7
              b. Brahim Abdeslam (a Belgian national);
 8
              c. Chakib Akrouh (a Belgian national);
 9
10              d. Bilal Hafdi (a French citizen who lived in Belgium);

11              e. Ahmed al-Mohamed (believed to be an Iraqi);

12              f. M. al-Mahmod (believed to be an Iraqi);
13
                g. Omar Ismail Mostefai (a French national);
14
                h. Sami Amimour (a French citizen);
15
                i. Foued Mohammed Aggad (a French national);
16
                j. Salah Abdeslam (a Belgian-born French national);
17
18              k. Mohamed Belkaid (believed to be Algerian); and

19              l. Najim Laachraoui (a Moroccan-born resident of Belgium).
20          248.    Belgium has been called “the epicenter of the Islamic State’s efforts to attack
21
     Europe.”
22
            249.    A number of jihadi recruiting networks for ISIS have been very active and
23
     successful, enticing and sending hundreds of young Muslim men in the last 5-6 years to travel to
24
25 Syria and Iraq to join ISIS.
26          250.    By the time of the Paris Attack, Belgium was the country with the highest number

27 per capita of recruits to travel to Syria and Iraq to join ISIS among all Western countries.
28                                              41
                Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 42 of 94




             251.   Among the most active and successful ISIS recruiting networks in Belgium were:
 1
 2              a. Sharia4Belgium, founded by Antwerp-based radical Islamist Fouad Belkacem (a/k/a

 3                  Abu Imran) (“Belkacem”) with the inspiration and endorsement of London-based

 4                  radical Islamist Anjam Choudary (“Choudary”);
 5              b. Resto du Tawhid, founded in Brussels by a Belgian Muslim-convert named Jean-
 6
                    Louis Denis (“Denis”); and
 7
                c. “The Zerkani Network,” centered around the Molenbeek area of Brussels by radical
 8
                    Islamist Khalid Zerkani (“Zerkani”).
 9
10           252.   Choudary was a founding member of an extreme Islamist organization called al-

11 Muhajiroun, which held a conference in 2002 titled “The Magnificent 19,” praising al-Qaeda’s 9/11
12 Attack on the United States, and was linked to multiple terror plots in Britain.
13
             253.   In 2010 and 2014, Britain banned al-Muhajiroun and other groups led by Choudary,
14
     including Islam4UK, under the U.K. Terrorism Act of 2000.
15
             254.   Choudary openly supported ISIS and jihad through speeches and social media,
16
17 especially YouTube, Twitter, and Facebook.
18           255.   After ISIS’s announcement of the Islamic caliphate in 2014, Choudary declared his

19 allegiance to the Islamic State, and stated to the press that ISIS’s leader Abu Bakr is “the caliph of
20 all Muslims and the prince of the believers.”22
21
             256.   Choudary is considered to have played a major role in recruiting more than 500
22
     Britains to travel to Syria and Iraq to join ISIS.
23
24
25
26       Andrew Anthony, “Anjem Choudary: the British extremist who backs the caliphate,” The
        22

   Guardian (Sept. 7, 2014), https://www.theguardian.com/world/2014/sep/07/anjem-choudary-
27
   islamic-state-isis.
28                                            42
              Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 43 of 94




               257.   Choudary was arrested in September 2014, and was subsequently convicted under
 1
 2 the U.K. Terrorism Act of 2000 for inviting support of ISIS.
 3             258.   Belkacem was an admirer of Choudary, and founded Sharia4Belgium after seeking

 4 his advice.
 5             259.   Belkacem operated Sharia4Belgium as an intense Islamist activist and indoctrination
 6
     center, with one of its central goals being to recruit young Muslims to travel to Syria and Iraq to join
 7
     ISIS.23
 8
               260.   In early 2015, Belkacem was convicted for recruiting and sending terrorists to join
 9
10 ISIS in Syria and Iraq, and sentenced to twelve years imprisonment.
11             261.   Forty-four other members of Sharia4Belgium were also tried together with

12 Belkacem, although only seven of those were present at the trial.
13
               262.   The remaining defendants in Belkacem’s trial were tried in absentia, most presumed
14
     to still be in Syria or possibly killed.
15
               263.   Belkacem’s 44 co-defendants were also convicted of terrorism offenses, and given
16
17 sentences of between three and fifteen years imprisonment (with some sentences suspended).
18             264.   After Belkacem’s arrest, radical Islamist Hicham Chaib (a/k/a Abu Hanifa al-Baljiki)

19 (“Chaib”), served as a leader of Sharia4Belgium.
20             265.   Denis was also arrested and convicted of recruiting for ISIS, and was sentenced in
21
     January 2016 to ten years imprisonment.
22
               266.   Zerkani operated his recruitment network in the Brussels area, using petty crime to
23
     fund the recruitment of jihadis for ISIS.
24
25
26
         23
           Ben Taub, “Journey to Jihad: Why are teen-agers joining ISIS?” The New Yorker (Jun. 1,
27
     2015), http://www.newyorker.com/magazine/2015/06/01/journey-to-jihad.
28                                               43
                 Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 44 of 94




               267.   Zerkani was known for providing fake documentation and thousands of Euros in cash
 1
 2 to recruits who traveled to Syria and Iraq to joing ISIS, and putting them in touch with contacts to
 3 smuggle them across the border from Turkey to Syria.
 4             268.   In July 2015, a Belgian criminal court convicted and sentenced Zerkani to 12 years
 5 imprisonment for recruiting for ISIS, and his sentence was extended to 15 years in April 2016 by an
 6
   appeals court.
 7
          269. As with Belkacem, Zerkani was tried together with many other co-defendants
 8
   charged with terrorism offenses related to recruiting and sending young Muslims to Syria to join
 9
10 ISIS.
11             270.   Twenty-eight of Zerkani’s co-defendants were convicted and sentenced, although 14

12 of those convicted were tried in absentia because they were presumed to still in Syria or possibly
13
     killed.
14
               271.   Among those convicted in absentia at the Zerkani trial in July 2015 were Abaaoud
15
     and Laachraoui, two ISIS terrorist who would later to instrumental in the Paris Attack in November
16
17 2015.
18             272.   Each of these networks—Sharia4Belgium, Resto du Tawid, and “The Zerkani

19 Network”—used and relied on social media to build and maintain connections with ISIS recruits,
20 and as Belgian recruits arrived in Syria and Iraq, these recruits served to influence others from their
21
     Belgian communities to join ISIS as well.
22
               273.   Belkacem and Denis in particular used YouTube as a primary tool for indoctrination
23
     and recruitment to ISIS.
24
25             274.   Belkacem’s Sharia4Belgium maintained several YouTube channels, which it used to

26 post sermons, speeches, news events, and other materials to lure, recruit, and indoctrinate young
27 Muslims to travel to Syria and Iraq to join ISIS.
28                                               44
                 Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
      Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 45 of 94




            275.   The following is a logo from one of Sharia4Belgium’s YouTube channels:
 1
 2
 3
 4
 5
 6
            276.   The following are screen clips from one of Sharia4Belgium’s YouTube channels
 7
     established in 2012 and still online today, showing a menu of Sharia4Belgium videos that can be
 8
     viewed on the channel (the captions are translated by Google Translate into English):
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                             45
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
     Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 46 of 94




 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                         46
           Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
     Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 47 of 94




 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                         47
           Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
     Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 48 of 94




 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                         48
           Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
      Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 49 of 94




 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
            277.    Denis’s Resto du Tawid also maintained one or more YouTube channels as well,
21
22 which was also used to post sermons, speeches, news events, and other materials to lure, recruit, and
23 indoctrinate young Muslims to travel to Syria and Iraq to join ISIS.
24          278.   The following is a picture of the banner from Denis’s Resto du Tawid YouTube
25
     channel:
26
27
28                                              49
                Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
      Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 50 of 94




 1
 2
 3
           279.    The following are screen clips from one of Sharia4Belgium’s YouTube channels
 4
 5 established in 2012 and still online today, showing a menu of Sharia4Belgium videos that can be
 6 viewed on the channel (the captions are translated by Google Translate into English):
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                            50
              Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 51 of 94




 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
             280.    Although these three Belgian recruiting networks appear to have initially operated
18
     each within its own sphere, over time there was significant overlap and coordination among them.
19
20           281.    Denis served as a key connection between Sharia4Belgium and “The Zerkani

21 Network.”
22           282.    Denis became the leader of the Brussels branch of Sharia4Belgium, and he and an
23
     assistant named Mohamed Khemir (“Khemir”) often participated in meetings together with Zerkani.
24
             283.    Khemir even accompanied Zerkani at least once when they brought a French recruit
25
     to the Brussels airport to travel to Syria.
26
27
28                                              51
                Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
      Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 52 of 94




             284.    Abaaoud, considered the operational leader of the Paris Attack, was among the
 1
 2 recruits of Zerkani.
 3           285.    Abaaoud was a dual Belgian-Moroccan national born in Brussels in 1987.

 4           286.    Between 2006 and 2012, Abaaoud was arrested several times, resulting in various
 5 light sentences including community service, probation, and jail time.
 6
           287. After his release from jail in September 2012, Abaaoud became heavily involved in
 7
   the Zerkani Network, and by March 2013 Abaaoud traveled to Syria to join ISIS with six others
 8
   from Belgium.
 9
10           288.    Abaaoud joined ISIS and took on the names “Abou Omar al-Soussi” and “Abu Omar

11 al-Beljiki.”
12           289.    Abaaoud was an active user of social media, including YouTube, Facebook, and
13
     Twitter.
14
             290.    On or about July 15, 2013, Abaaoud opened a Facebook account under the name
15
     “Abou Omar Soussi”.24
16
             291.    Abaaoud mentioned ISIS as his affiliation on this Facebook account.
17
18           292.    Abaaoud returned to Belgium about September 2013.

19           293.    According to investigators, while back in Belgium, Abaaoud received a telephone
20 call from ISIS member Mehdi Nemmouche, a French national who is the prime suspect of a May
21
     2014 terrorist in Brussels, Belgium, in which an ISIS terrorist murdered four people at a Jewish
22
     museum.
23
24
25
26      24
                 https://emmejihad.wordpress.com/2014/03/27/more-about-13-year-old-isis-fighter-from-
     belgium/.
27
28                                               52
                 Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
      Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 53 of 94




             294.   In January 2014, Abaaoud brought his 13-year-old brother Younes out of Brussels,
 1
 2 and the two traveled to Syria.
 3           295.   On or about February 8, 2014, Abaaoud posted the following picture of himself on

 4 his Facebook account with the message: “Abou Omar the Belgian in the trenches”:25
 5
 6
 7
 8
 9
10
11
12           296.   In March 2014, Abaaoud posted a link on his Facebook account to an ISIS recruiting

13 video on YouTube in which Abaaoud and other ISIS members in Syria and Iraq appear, describing
14 their life and role in ISIS.26
15
            297. The following are screen clips from the ISIS video on YouTube from March 2014
16
   featuring Abaaoud:
17
18
19
20
21
22
23
24
        25
            https://emmejihad.files.wordpress.com/2014/03/1800367_1462846350604915_1158723451
25
     _n.jpg.
26      26
           Guy Van Vlierden, “More about 13 year old ISIS fighter from Belgium,” emmejihad:
   ExcuseMeMyEnglish—A research blog about jihad in and out of Belgium (Mar. 27, 2014),
27
   https://emmejihad.wordpress.com/2014/03/27/more-about-13-year-old-isis-fighter-from-belgium/.
28                                             53
              Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
      Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 54 of 94




 1
 2
 3
 4
 5
 6           298.   In the March 2014 ISIS YouTube video, Abaaoud gave a monologue (in French)

 7 recruiting jihadi fighters for ISIS in which he stated:27
 8                  “Here I am in a trench, as you can see, protecting myself from the bullets,
                    the shelling of the enemy—the apostates who are fighting us because we
 9
                    want to instate Islamic law. They advance towards us with tanks, heavy
10                  artillery, and many men. We are about 50 men in front of them. Most of us
                    are carrying simple Kalashnikovs, a few RPGs, and a few PKC [machine
11                  guns]… Admittedly, there is no joy in spilling blood, although it’s nice to
                    see from time to time, the blood of the infidels, because we were educated,
12                  growing up, seeing all over the world, on TV, the blood of the Muslims,
                    which for decades has been shed… I would like to send a message to those
13
                    who stay put and do not wage jihad: Arise and go forth to fight in the path
14                  of Allah. Go forth to victory in this world and in the Hereafter… Is there
                    anything better than jihad and martyrdom in the path of Allah? What can be
15                  sweeter than martyrdom in the path of Allah? ... Some of us had to leave
                    behind our wives, our mothers, our fathers, and our property. We left our
16                  lives in this world for the sake of Allah, to elevate the word of Allah…
17                  When I lived in Europe, I never ate food like I have eaten here. I entered
                    villas, palaces! ... Hasten to jihad, hasten to jihad! Hasten before it is too
18                  late. The enemies of Allah and of Islam have gathered worldwide, starting
                    with the so-called ‘peaceful’ Buddhists, who exterminate, decapitate, rip
19                  apart, and eat the Muslims in Asia, or the Africans in Central Africa, who
                    kill the Muslims, or the Westerners, or the Shiites, may Allah curse them.
20                  They are all gathered against the Sunni Muslims, who want the victory of
21                  Allah. For an hour a sniper has been trying to get me, but by the will of
                    Allah, he won’t succeed. And if he does get me, if will be the will of Allah,
22                  the destiny of Allah, and I will be satisfied… For the sincere believers, I
                    will pray that Allah will guide them, help them, ease them, and support
23                  them, to go forth to jihad in the path of Allah. For those who are tyrants,
                    their soldiers, and their worshippers, may Allah break your backs and
24
25
26      “From The MEMRI TV Archives—Most-Wanted Suspect In Paris Attacks Speaks From The
        27

   Trenches In Syria In March 2014: ‘It’s Nice to See … The Blood Of The Infidels,’” Middle East
27
   Research Institute (Nov. 16, 2015), http://www.memrijttm.org/content/view_print/report/8861.
28                                                54
             Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
      Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 55 of 94




                    exterminate you. Allah willing, He will exterminate you in the world and
 1                  the Hereafter. This is your brother in Allah, Abu Omar AlBelgiki.”
 2
            299.    Laachraoui, who prepared the explosives for the suicide bombs used in the Paris
 3
     Attack and carried out his own suicide bombing in a subsequent ISIS terror attack in Brussels in
 4
     March 2016, was involved with Belkacem’s Sharia4Belgium in 2012.
 5
 6          300.    Laachraoui was seen on videos together with Denis and other Sharia4Beligium

 7 members at demonstrations in from of the Myanmar embassy in Schaerbeek, Belgium.28
 8          301.    Laachraoui was also considered one of Zerkani’s ISIS recruits, and traveled to Syria
 9
     in 2013.
10
            302.    Laachraoui’s social media accounts show that he actively followed ISIS social media
11
     accounts and posted links to jihadi YouTube videos on his own accounts as well.
12
            303.    While in Syria, Laachraoui guarded prisoners for ISIS, and was known for torturing
13
                                                                    29
14 prisoners and staging mock executions before they were beheaded.
15 C.       ISIS vs. the United States, France, and their Allies
16          304.    In September 2014, ISIS used YouTube to post an audio message from ISIS
17
     spokesman Abu Muhammad al-Adnani titled “Verily Your Lord is Ever Watchful,” in which he
18
     urged ISIS supporters worldwide to perform terrorist attacks against countries that participated in
19
     fighting against ISIS, and in particular, against the United States, France, and other European
20
21 nations.
22
23
       28
          Julien Balboni, “Najim Laachraoui se racontait sur Twitter et Facebook,” DH.be (May 7,
24 2016), http://www.dhnet.be/actu/faits/najim-laachraoui-se-racontait-sur-twitter-et-facebook-572cc
   92c35702a22d7189992.
25
       29
          Neil Syson and Tom Wells, “Brussels Airport bomber tortured Brits Alan Henning and David
26 Haines in a Syrian jail before they were beheaded by Jihadi John,” The Sun (May 19, 2016),
   https://www.thesun.co.uk/archives/news/1174565/brussels-airport-bomber-tortured-brits-alan-
27
   henning-and-david-haines-in-a-syrian-jail-before-they-were-beheaded-by-jihadi-john/.
28                                                55
              Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
     Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 56 of 94




         305.   The following are translated excerpts from al-Adnani’s September 2014 message:
 1
 2            “[To the U.S. and its allies:] We promise you that this campaign will be
              your last and it will collapse and fail, just as all your other campaigns
 3            collapsed. But this time, when the war ends we will be the ones to invade
 4            your countries, whereas you will no longer invade [ours]. We will invade
              your Rome, break your Cross and enslave your women, with Allah’s help.
 5            This is His promise and he will not break it until it is realized. And if we do
 6            not achieve this, our sons or grandsons will, and they will sell your sons and
              grandsons as slaves.
 7
              ...
 8            [To American and Europeans:] The Islamic State did not launch a war
              against you, as your lying governments and your media claim. You are the
 9
              ones who initiated hostilities against us, and the [side] that initiates
10            hostilities is the evil one. You will pay [for it] dearly when your economies
11            collapse. You will pay dearly when your sons are sent to fight us and return
              crippled and damaged, in coffins or as lunatics. You will pay when each of
12            you feels afraid to travel abroad. You will pay when you walk the streets in
13            trepidation, for fear of Muslims. You will not be safe in your own beds. You
              will pay the price when your Crusader war fails, and then we invade the
14            very heart of your countries.
15            ...
              [To Muslims:] O monotheist, don’t sit out this war, wherever you may be.
16
              [Attack] the tyrants’ soldiers, their police and security forces, their
17            intelligence [forces] and collaborators. Cause them to lose sleep, make their
              lives miserable, and cause them to be preoccupied with their own
18
              [problems]. If you are able to kill an American or European infidel –
19            particularly any of the hostile, impure Frenchmen – or an Australian or a
              Canadian, or any [other] infidel enemy from the countries that have banded
20
              against the Islamic State, then put your trust in Allah and kill him, by any
21            way or means. Do not consult anyone and do not seek a fatwa [religious
22            ruling] from anyone. It is immaterial if the infidel is a combatant or a
              civilian. Their sentence is one; they are both infidels, both enemies. The
23            blood of both is permitted . . . The best thing to do would be to kill any
24            French or American infidel or any of their allies . . . If you cannot [detonate]
              a bomb or [fire] a bullet, arrange to meet alone with a French or an American
25
              infidel and bash his skull in with a rock, slaughter him with a knife, run him
26            over with your car, throw him off a cliff, strangle him, or inject him with
              poison. Don’t stand by, helpless and abject . . . If you are incapable even of
27
              this – then spit in his face. And if you refuse [to do] this while your brothers
28                                                 56
           Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
      Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 57 of 94




                    are being bombed and killed and their lives and property are under attack
 1
                    everywhere, then examine your faith. This is a serious matter you face, for
 2                  the Islamic faith is predicated upon the principle of loyalty to Muslims and
                    hostility toward infidels.”30
 3
 4          306.    On October 14, 2014, ISIS used YouTube to release a video message directed to the
 5 people of France, titled “Message of the Mujahid 3.”
 6
           307. The “Message of the Mujahid 3” YouTube video featured a French-speaking
 7
   member of ISIS, sitting in the driver’s seat of a car with a rifle, threatening France with terrorist
 8
   attacks and calling upon Muslims to carry out attacks.
 9
10          308.    The following are screen clips from ISIS’s “Message of the Mujahid 3” video:

11
12
13
14
15
16          309.    The following is a translation of excerpts from the French-speaker’s statement in the
17
     Message of the Mujahid 3 video posted on YouTube:
18
            “We will give a message to France over the bombing in Iraq and Syria. We have
19          warned, you are at war against the Islamic State. We are people to whom the victory
            will be assured with the help God. Now you have been warned.
20          …
21          You have so many murders and killings as did our dear brother Mohamed Merah.
            You were afraid of a brother, there will be thousands in the future.
22          …
            This is a message to all Muslims of France. Enjoy and see what happens in the
23          world. They gathered against us. Why, because we are defending Islam and because
            we want to apply the law of Allah. . . . You say that we’re the criminals. But they’re
24
25
26           See “Responding To U.S.-Led Campaign, IS Spokesman Calls To Kill Westerners,
            30

   Including Civilians, By Any Means Possible,” The Middle East Research Institute (MEMRI) (Sept.
27 22, 2014), http://www.memrijttm.org/content/view_print/blog/7825.
28                                               57
                 Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 58 of 94




             the cowards who drop bombs in their sky. We will take revenge for all the brothers
 1           and all the civilians who were killed.
 2           …
             You will not be safe anywhere in France or in other countries. We will make appeals
 3           to all brothers who live in France to kill any civilian. You will never be safe. All
             murders you committed, you will regret it.”
 4
             310.   Prior to the November 2015 Paris Attack, ISIS carried out and attempted several
 5
 6 smaller-scale terror attacks in Belgium and France in which Abaaoud was involved.
 7           311.   For example, on January 15, 2015, Belgian commandos thwarted an ISIS terrorist

 8 plot (the “Verviers Plot”) when they raided a safe house in Verviers, Belgium, killing ISIS terrorists
 9
     Sofiane Amghar (“Amghar”) and Khalid Ben Larbi (“Larbi”), and arresting a third conspirator.
10
             312.   In the safe house, police found AK-47 assault rifles, components of the explosive
11
     TATP, GoPro cameras, and police uniforms.
12
             313.   Officials reported that the Verviers Plot had included a planned beheading of a police
13
14 officer that was to be filmed.
15           314.   Police investigators determined that Abaaoud had been in contact with the three
16 Verviers terrorists via cellphone in Greece at the time of the raid, and was involved in the Verviers
17
     Plot.
18
             315.   In February 2015, ISIS released the seventh issue of its online English-language
19
     magazine Dabiq.
20
21           316.   ISIS’s Dabiq Issue 7 featured an interview of Abaaoud, and included the following

22 photograph of Abaaoud (a/k/a Abu Umar al-Baljiki) walking with Amghar (a/k/a Abu Khalid al-
23 Baljiki) and Larbi (a/k/a Abuz-Zubayr al-Baljiki), the ISIS terrorists who were supposed to carry
24 out the Verviers Plot but who were killed in the Verviers raid.
25
           317. The following are pictures from the Dabiq Issue 7:
26
27
28                                              58
                Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
      Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 59 of 94




 1
 2
 3
 4
 5
 6
            318.   In the Dabiq Issue 7 interview, Abaaoud insinuated that he had been in Belgium
 7
 8 himself, stating: “I was able to leave and come to Sham [Syria] despite being chased after by so
 9 many intelligence agencies. My name and picture were all over the news yet I was able to stay in
10 their homeland, plan operations against them, and leave safely when doing so became necessary.”
11          319.   On February 11, 2015, ISIS released its second issue of its online French-language
12
     magazine Dar al-Islam, with the cover-line “May Allah [God] Curse France.”
13
            320.   The following is a picture of the cover of Dar al-Islam Issue 2:
14
15
16
17
18
19
20
21
22
23          321.   ISIS’s Dar al-Islam online French-language magazine is dedicated to recruiting

24 French-speaking members for ISIS and promoting attacks against France and other western
25 countries.
26
            322.   Dar al-Islam Issue 2 was released shortly after a series of Islamist terrorist attacks in
27
     Paris had taken place from January 7-9, 2015: in one attack, two “al-Qaeda in the Arabian
28                                              59
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 60 of 94




     Peninsula” (“AQAP”) terrorists shot and killed 11 civilians and a police officer and wounded 11
 1
 2 others in a shooting attack at the office of the Charlie Hebdo satire magazine; immediately
 3 afterward, ISIS terrorist Amedy Coulibaly (“Coulibaly”) shot and killed a police officer and a
 4 jogger, and then killed four Jewish shoppers and took others hostage at a Hypercacher kosher
 5 supermarket.
 6
          323. Dar al-Islam Issue 2 praised and justified these attacks, and featured pictures of
 7
   Coulibaly and an interview of his wife, Hayat Boumeddiene.
 8
          324. The issue also called for more terrorist attacks against France and other western
 9
10 countries; for example, one article in this issue included the following statement:
11                  The disbeliever states have understood the consequences of the return of the
                    Caliphate: the end of the domination by the Jews, the Crusaders and their
12
                    allies. Every sincere Muslim must migrate to one of the regions of the
13                  Islamic State, the land of Islam, and leave the land of disbelief led by the
14                  worst tawaghit [tyrants] of this world, who constantly war against our
                    community. The time has come for the believers to go forth, to recover the
15                  land, and not to let these tyrants rest for one second. . . . France needs to
16                  mourn its dead as we mourn our own; may they see the blood of their own
                    people flow like we see that of our own.
17
18           325.   In June 2015, French police took an ISIS recruit named Nicholas Moreau (“Moreau”)

19 into custody after he was deported from Turkey.
20           326.   Under interrogation, Moreau told the police that Abaaoud was “the principal
21
     commander of future attacks in Europe,” and had been given the task by ISIS of examining the
22
     background of potential recruits for those attacks.31
23
24
25
26
        31
            Paul Cruickshank, “The inside story of the Paris and Brussels attacks,” CNN (Mar. 30, 2016),
27
     http://edition.cnn.com/2016/03/30/europe/inside-paris-brussels-terror-attacks/index.html.
28                                             60
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 61 of 94




                327.    After arresting Moreau, French police arrested another ISIS recruit in 2015 named
 1
 2 Reda Hame (“Hame”) before he was able to carry out a planned terrorist attack.
 3              328.    During his interrogation on August 13, 2015, Hame told the police that in June 2015

 4 Abaaoud had given Hame hands-on training in a park in Raqqa on the use of Kalashnikov assault
 5 rifles and grenades.
 6
            329. Hame told police that Abaaoud directed him to choose “an easy target, like a group
 7
   of people, a concert for example, where there is a crowd,” and instructed Hame that after carrying
 8
   out the attack, he should wait for police to arrive and “die while killing the hostages.”
 9
10              330.    Hame said that Abaaoud told him that “if lots of civilians were hit, the foreign policy

11 of France would change.”
12              331.    Asked by police whether he was aware of any pending attacks, Hame replied: “All I
13
     can tell you is that it’s going to happen soon. It’s a veritable factory over there – they are really
14
     looking to hit France or Europe.”32
15
     D.         The Team of ISIS Terrorists Gather in Preparation of the Attack
16
                332.    By the end of September 2015, Abaaoud had again slipped back into Europe.
17
18              333.    In early September 2015, Abaaoud’s childhood friend Salah Abdeslam

19 (“Abdeslam”) traveled to Hungary to pick up two ISIS members, Mohammed Belkaid (“Belkaid”)
20 and Najim Laachraoui (“Laachraoui”), who had arrived from Syria using fake identities.
21
                334.    On September 9, 2015, Abdeslam, driving a rented Mercedes, was checked by
22
     authorities at the Hungarian-Austrian border on his way back to Belgium with Belkaid and
23
     Laachraoui.
24
25
26
27        32
               Id.
28                                                   61
                     Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 62 of 94




            335.    On October 3, 2015, two Iraqi ISIS members arrived at the Greek island of Leros on
 1
 2 a boat with nearly 200 migrants.
 3          336.    Using fake Syrian passports, the two Iraqis registered as refugees, took a ferry to

 4 Athens, and then traveled through the Balkans, Hungary, and Austria to meet the other ISIS
 5 conspirators in Belgium.
 6
          337. Abaaoud appears to have been the operational leader of the ten ISIS terrorists who
 7
   would execute the Paris Attack.
 8
          338. Belkaid and Laachraoui were ISIS members who would remain in Belgium and
 9
10 communicate with the attackers via cellphone to coordinate the attacks.
11          339.    Laachraoui was also the bomb-maker who prepared the TATP explosive suicide-

12 belts that were worn and used by the ISIS terrorists who would execute the Paris Attack.
13
            340.    From approximately early September 2015 until shortly before the Paris Attack, the
14
     ISIS conspirators of the Paris Attack gathered in three safe houses in Belgium.
15
            341.    Between November 11 and November 13, 2015, the ISIS members who were to
16
17 execute the Paris Attack moved from Belgium to Paris, where they divided themselves between two
18 locations: a hotel and a rented house.
19 E.       The Paris Attack
20          342.    On the night of November 13, 2015, the ISIS terrorists in Paris split into three groups:
21
     one group set out in a black Renault Clio driven by Abdeslam, with Hadfi and the two Iraqis (the
22
     three “Stadium Attackers”) as passengers; a second group travelled in a black Seat Leon driven by
23
     Abaaoud, with Brahim and Akrouh as passengers (the three “Café Attackers”); and the third group
24
25 consisting of Mostefai, Amimour, and Agged (the three “Bataclan Attackers”) rode in a black
26 Volkswagen Polo.
27
28                                             62
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 63 of 94




            343.    Shortly before 9:00 p.m., Abdeslam dropped the Stadium Attackers off outside the
 1
 2 Stade de France (the “National Stadium”) in Paris, and then drove away.
 3          344.    French President Francois Hollande was at the National Stadium at the time.

 4          345.    Beginning at about 9:05 p.m., a security guard at Gate R blocked one of the Iraqis
 5 four times trying to sneak into the stadium.
 6
           346. At about 9:20 p.m., one of the Iraqi suicide bombers (with a fake Syrian passport in
 7
   the name Ahmad al Mohammad) blew himself up outside Gate D, killing one other person. Hadfi
 8
   was on the phone with Abaaoud at the time.
 9
10          347.    At about 9:20 p.m., Abaaoud was driving a black Seat Leon with Brahim and Akrouh

11 as passengers on the Rue Bichat towards Paris’s café district.
12          348.    At about 9:25 p.m., a car blocked Abaaoud’s path on Rue Bichat. Five shots were
13
     fired from the Seat Leon, killing the driver of the blocking car.
14
            349.    Abaaoud then stopped the car in the middle of the road and turned on the hazard
15
     lights. Abaaoud, Brahim, and Akrouh got out of the car shouting “Allahu Akbar” and, using
16
17 Kalashnikov AK-47 assault rifles, they opened fire on people at the Petit Cambodge Cambodian
18 restaurant on Rue Bichat and the La Carillon bar on the other side of the road, killing 13 people.
19          350.    The three terrorists got back into the black Seat Leon car and drove on.
20          351.    At about 9:30 p.m., the second Iraqi suicide bomber exploded outside Gate H at the
21
     national stadium. Fortunately, no one besides the bomber was killed.
22
            352.    At about 9:32 p.m., the black Seat Leon stopped again. Abaaoud, Brahim, and
23
     Akrouh got out of the car and, shouting “Allahu Akbar,” they opened fire at patrons at the Casa
24
25 Nostra pizzaria and Bonne Biere café near the Place de la Republique square. This time they
26 murdered five people, before jumping back into the car.
27
28                                             63
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 64 of 94




            353.    At about 9:36 p.m., Abaaoud, Brahim, and Akrouh opened fire at the La Belle Equipe
 1
 2 café on Rue de Charrone, killing 19 people, including 23-year-old Nohemi Gonzalez, an American
 3 student in Paris on a study-abroad program. Most of those who were murdered at this café were
 4 sitting on the outdoor terraces. A witness reported that the three terrorists did not speak to each other
 5 as they calmly sprayed bullets at the cafés and at cars travelling down the road.
 6
           354. The black Seat Leon then sped to a new location.
 7
           355. At about 9:40 p.m., Abaaoud dropped off Brahim, who was wearing a hooded jacket
 8
   over several layers of clothing, at the Comptoir Voltaire café. Brahim entered the covered interior
 9
10 terrace of the café, smiled at the patrons, apologized for interrupting their dinner, and blew himself
11 up.
12          356.    Abaaoud and Akrouh next drove toward the Montreuil suburb of Paris, where they
13
     abandoned the black Seat Leon car.
14
            357.    At about 9:40 p.m., Mostefai, Amimour, and Agged, driving a black Volkswagen
15
     Polo, pulled up in front of the Bataclan Theatre concert hall in Paris and parked the car.
16
            358.    At about 9:42 p.m., one of the three terrorists in the black Volkswagen Polo sent a
17
18 text message on a Samsung smartphone to a cellphone in Brussels: “We’re getting going; we’re
19 starting.” He then tossed the phone into a trash can near the entrance of the concert hall.
20          359.    Police recovered the Samsung smartphone from the trash can after the Paris Attack,
21
     and determined that the text message was received in Brussels on a cell phone used by Belkaid.
22
     Police also determined that a second cellphone in Brussels, used by either Belkaid or Laachraoui,
23
     was also communicating with Hadfi and Abaaoud during the Paris Attack.
24
25          360.    The three Bataclan attackers first killed three people outside the concert hall, then

26 went in and moved to the concert floor, shooting people and shouting “Allahu Akbar.” As one
27
28                                             64
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 65 of 94




     terrorist fired his weapon, another reloaded so they could kill as many as possible. The third terrorist
 1
 2 stood at the emergency exit and attacked people who attempted to escape.
 3          361.     The terrorists spoke French, telling the wounded on the floor: “Anybody who moves,

 4 I’m going to kill.”
 5          362.     At about 9:50 p.m., Hadfi, the third national stadium suicide bomber, exploded next
 6
     to a McDonald’s restaurant nearby the stadium, injuring more than 50 people.
 7
            363.     After the Bataclan attackers’ initial wave of killing, they briefly stopped and were
 8
     heard to say: “Where is the singer? Where are those Yanks? It’s an American group, you’re bombing
 9
10 us with the Americans, so we’re going to hit the Americans and you.”
11          364.     The Bataclan terrorists told those on the floor that they had been dispatched from

12 Syria by ISIS to carry out the attack to avenge French airstrikes in Iraq and Syria.
13
            365.     At about 10:00 p.m., two French police officers arrived at the Bataclan hall and shot
14
     Amimour. As Amimour fell to the floor, he detonated his suicide vest.
15
            366.     Mostefai and Agged took some of the surviving concert-goers and herded them into
16
17 a corridor inside the Bataclan building to hold as hostages.
18          367.     At about 10:45 p.m., French “RAID” commandos arrived and began communicating

19 with Mostefai and Agged. The two terrorists in the Bataclan threatened to execute their hostages
20 unless they received a signed paper promising that France would leave Muslim lands.
21
            368.     In the meantime, Abaaoud had taken the metro back into Paris to coordinate the
22
     Bataclan attack. He was seen by a witness outside the concert hall yelling orders into a hands-free
23
     cellphone.
24
25          369.     Just after midnight, the RAID commandos stormed the concert hall, rescuing the

26 hostages alive. Mostefai and Agged were both shot by police, and at least one of them managed to
27 detonate his suicide vest.
28                                                65
                  Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 66 of 94




            370.    By the end of the Paris Attack, the ISIS terrorists had murdered 130 people and
 1
 2 injured nearly 400.
 3          371.    Seven of the ten ISIS terrorist attackers were dead, leaving only Abaaoud, Akrouh,

 4 and Abdeslam alive.
 5          372.    The Paris Attack was the deadliest attack on France since World War II and the
 6
     deadliest in the European Union since the Madrid train bombings in 2004.
 7
     F.     The Aftermath of the Paris Attacks
 8
            373.    On November 14, 2015, ISIS issued a written statement in several languages
 9
10 (including Arabic, French, and English) titled “A Statement on the Blessed Onslaught in Paris
11 against the Crusader Nation of France,” in which ISIS claimed responsibility for the Paris Attack.
12          374.    The following are copies of the Arabic and English versions of ISIS’s written
13
     statement claiming responsibility for the Paris Attack:
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                             66
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
      Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 67 of 94




 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
            375.   On November 14, 2015, ISIS used YouTube to release an audio message again
23
24 claiming responsibility for the Paris Attack. The voice of the ISIS representative who spoke in the
25 audio message was identified as ISIS member Fabian Clain.
26
27
28                                             67
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
      Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 68 of 94




            376.    On November 17, 2015, ISIS used YouTube to release a video message in French
 1
 2 titled “Fight Them: With Your Hands Allah Will Punish Them,” featuring four French-speaking
 3 ISIS members praising and justifying the Paris Attack, and threatening additional attacks.
 4          377.    On November 18, 2015, ISIS used YouTube to release another video message titled
 5 “What’s Coming Will Be Even Worse,” featuring three French-speaking ISIS members praising the
 6
   Paris Attack and threatening additional attacks.
 7
          378. On November 18, 2015, ISIS used YouTube to release another video message titled
 8
   “And our soldiers will prevail,” featuring a jihadi song in French titled “Go Forth, Go Forth” calling
 9
10 for attacks against ISIS’s enemies, praising the Paris Attack and threatening additional attacks.
11          379.    Also on November 18, 2015, ISIS released the twelfth issue of its online English-

12 language magazine Dabiq, which featured the Paris Attack on its cover as shown here:
13
14
15
16
17
18
19
20
21
            380.    On November 30, 2015, ISIS used Twitter to release the seventh issue of its online
22
     French-language magazine Dar al-Islam titled “France at its knees,” which praised the Paris Attack,
23
24 and included a graphic multi-page photo montage of the attack.
25          381.    The following are pictures from Dar al-Islam Issue 7:

26
27
28                                             68
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
     Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 69 of 94




 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                         69
           Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 70 of 94




            382.    On January 24, 2016, ISIS’s official al-Hayat Media Center used YouTube to release
 1
 2 a video titled, “Kill Them Wherever You Find Them,” featuring the Paris attackers (the “Paris
 3 Attackers Video”).
 4          383.    The following is an ISIS graphic promoting the Paris Attackers Video:
 5
 6
 7
 8
 9
10
11
12
13          384.    The Paris Attackers Video was in French and Arabic, and was distributed via
14
     YouTube in versions with Arabic and English subtitles. The video featured video messages from
15
     the nine ISIS terrorists (now dead) who carried out the November 13, 2015 Paris Attack, and they
16
     recorded the messages in anticipation of the attack, to be released by ISIS after their deaths.
17
            385.    The Paris Attackers Video opens with an encrypted message, and then the following
18
19 written message appears on the screen:
20                  “The following are the final messages of the nine lions of the Caliphate who
                    were sent forth from their dens to bring an entire country – France – to her
21                  knees. They raised the word of tawhid [monotheism] and lived the verses
22                  of the Koran by killing the infidels wherever they found them. And they
                    continued to do so until their thirst for success was quenched with nothing
23                  other than their own blood.”

24          386.    The Paris Attackers Video next shows news footage from the Paris Attack, and
25 includes a song with the following lyrics in French:
26
                  “Charronees, Bichat, Voltaire [names of Paris streets where attacks
27                occurred] /my Kalashnikov is loaded / the civilians are unarmed / I am
                  annihilating Frenchmen / It is [French Prime Minister] Valls who should be
28                                                  70
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 71 of 94




                    thanked . . . It is only for the sake of Allah that have we made this choice /
 1                  killing with hearts full of joy / we will kill you without mercy . . .”
 2
            387.    The first attacker to appear in the Paris Attackers Video is Abaaoud (a/k/a Abu Umar
 3
     al-Baljiki), who speaks in French in front of an ISIS flag, a handgun, and an assault rifle.
 4
            388.    The following is a screen clip from the Paris Attackers Video:
 5
 6
 7
 8
 9
10
11
            389.    After Abaaoud, the Paris Attackers Video shows seven of the attackers in succession,
12
13 dressed in identical battle fatigues, each delivering a message and then executing a captive. Five of
14 these seven terrorists, Amimour (a/k/a Abu Qital al-Faransi), Agged (a/k/a Abu Fu’ad al-Faransi),
15 Hadfi (a/k/a Abu Mujaed al-Baljiki), Akrouh (a/k/a Dhul-Qarayn al-Baljiki), and Mostefai (a/k/a
16 Abu Rayyan al-Faransi), are shown executing captives by beheading them with a knife. The other
17
   two attackers, Iraqi ISIS members identified as Ukash al-Iraqi and Ali al-Iraqi, make a joint
18
   statement in Arabic, and are shown executing captives by shooting them in the back of the head.
19
          390. Lastly, the ninth attacker in the Paris Attackers Video is Abaaoud’s brother, Brahim,
20
21 who is shown in a different setting performing target practice, but he does not give a statement or
22 execute a prisoner in the video.
23          391.    On February 6, 2016, ISIS released the eighth issue of its online French-language
24
     magazine Dar al-Islam, with Abaaoud’s picture on the cover as shown here:
25
26
27
28                                             71
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
          Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 72 of 94




 1
 2
 3
 4
 5
 6
 7
              392.   ISIS’s Dar al-Islam Issue 8 was predominately dedicated to the Paris Attack, and
 8
 9 included an editorial on the attack, as well as testaments of three of the Paris attackers: Abaaoud
10 (a/k/a Abu Umar al-Baljiki); Mostefai (a/k/a Abu Rayyan al-Faransi); and Hadfi (a/k/a Abu Mujahid
11 al-Baljiki).
12
              393.   The following are pictures of Abaaoud, Mostefai, and Hadfi from Dar al-Islam Issue
13
     8:
14
15
16
17
18
19
20
21
              394.   Dar al-Islam Issue 8 also included a graphic multi-page photo montage of the
22
     attackers preparing for the attack, featuring pictures from the January 2016 video “Kill Them
23
     Wherever You Find Them.”
24
              395.   The following is a copy of the introductory page to the photo montage:
25
26
27
28                                              72
                Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
      Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 73 of 94




 1
 2
 3
 4
 5
 6
 7
            396.   In April 2016, ISIS used YouTube to release a video titled “An Appropriate
 8
     Recompense,” that tied the Paris Attack to a subsequent mass-casualty terrorist attack carried out
 9
     by ISIS in Brussels, Belgium on March 22, 2016, and featured two Belgian ISIS fighters warning
10
11 of more attacks.
12          397.   The following are screen clips from the ISIS “An Appropriate Recompense” video:

13
14
15
16
17
            398.   ISIS also used YouTube to post another video following the Brussels attacks titled,
18
     “And Cast Terror Into Their Hearts,” featuring Belgian ISIS leader Hicham Chaib (“Chaib”), also
19
     known as Abu Hanifa Al-Baljiki, who had succeeded Belkacem as the leader of Sharia4Belgium
20
21 after Belkacem’s arrest.
22          399.   The following is an ISIS graphic promoting the “And Cast Terror Into Their Hearts”
23 video:
24
25
26
27
28                                             73
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 74 of 94




 1
 2
 3
 4
 5
 6          400.    The video showed scenes from the attacks set to ISIS nasheed chanting music and

 7 statements from ISIS terrorists.
 8          401.    In the video, Chaib called the attacks a natural reaction to Belgium’s attacks on
 9
     Muslims and Islam, and warned that ISIS will continue targeting its enemies on their own soil if the
10
     war against it continues.
11
            402.    The following is a screen clip from the video showing Chaib:
12
13
14
15
16
17
18
19          403.    At the end of the video, Chaib is shown executing an ISIS captive.

20          404.    On April 13, 2016, ISIS released the fourteenth issue of its online English-language

21 magazine Dabiq.
22
            405.    ISIS’s Dabiq Issue 14 praised the Brussels Attack and presented profiles of the three
23
     ISIS suicide terrorists who carried it out: Laachraoui (a/k/a Abu Idriss al-Baljiki); Bakraoui (a/k/a
24
     Abu Sulayman al-Baljiki); and Khalid (a/k/a Abu Walid al-Baljiki).
25
26
27
28                                             74
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
      Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 75 of 94




            406.   ISIS’s Dabiq Issue 14 also credited Laachraoui for preparing the explosives for both
 1
 2 the Paris Attack and the Brussels attacks, and presented a profile of Belkaid (a/k/a Abu Abdil-Aziz
 3 al-Jaza’iri), who was also involved in the Paris Attack.
 4          407.   The following is a copy of a page from ISIS’s Dabiq Issue 14:
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
     V.     NOHEMI GONZALEZ
19
            408.   In the fall of 2015, Nohemi Gonzalez (“Nohemi”) was a 26-year-old industrial design
20
21 student at California State University Long Beach spending a semester abroad at the Strate School
22 of Design in Paris, France.
23          409.   The following is a picture of Nohemi:
24
25
26
27
28                                             75
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 76 of 94




 1
 2
 3
 4
 5
 6
 7
 8
 9
            410.    Described by her friends and family as “bubbly,” “happy,” and “hard-working,”
10
     Nohemi was a first-generation Mexican-American born in California.
11
12          411.    This was Nohemi’s first time living in Europe, and her friends said that she could

13 hardly believe her good fortune to be in Paris to see sights like the Eiffel Tower and the Cathedral
14 of Notre Dame, and to fulfil her dream of studying in the famous city.
15          412.    On Friday evening, November 13, 2015, Nohemi and a group of friends were out for
16
     a night on the town and ended up at La Belle Équipe, a lively Paris bistro on Rue de Charonne.
17
            413.    Tragically, at about 9:36 p.m., as Nohemi and her friends were only a few minutes
18
     into their meal, three ISIS terrorists, Abaaoud, Brahim, and Akrouh, arrived in a black Seat Leon
19
20 car, approached the La Belle Equipe café, and began spraying bullets at the people at the café.
21          414.    Nohemi was among 19 people murdered by the ISIS terrorists at the LaBelle Equipe

22 café, and is believed to have been the only American killed in the Paris Attack.
23
            415.    The F.B.I. told Nohemi’s family that it would be weeks before her body would be
24
     sent back to the United States because of the investigation.
25
            416.    Nohemi was a college senior, and would have been the first member of her family to
26
     graduate college.
27
28                                             76
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 77 of 94




            417.    The plaintiffs, Nohemi’s father, mother, step-father, and brothers were devastated by
 1
 2 the loss of their only daughter and sister. They suffered, and will continue to suffer, severe
 3 psychological and emotional harm, as well as loss of solatium as a result of the terrorist attack that
 4 killed Nohemi Gonzalez.
 5          418.    The following is a picture from a memorial service held for Nohemi:
 6
 7
 8
 9
10
11
12
13
14 VI.      GOOGLE’S CONDUCT

15 A.       Google Knowingly Provided Material Support and Resources to Terrorists,
            Including ISIS and its Supporters
16
17          419.    ISIS’s reputation as an organization that has engaged in and continues to engage in

18 terrorist acts is widespread and has been reported in the world news media.
19          420.    ISIS’s designation as a Foreign Terrorist Organization is public knowledge that has
20
     likewise been widely reported in the world news media.
21
            421.    At all times relevant to this Complaint, Google has known that ISIS is an organization
22
     that has engaged in and continues to engage in terrorist activity.
23
            422.    At all times relevant to this Complaint, Google has known that ISIS is designated as
24
25 a Foreign Terrorist Organization.
26          423.    Despite this knowledge, Google has for years knowingly provided its Services to
27 ISIS, its members, organizations owned or controlled by ISIS, and organizations and individuals
28                                             77
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 78 of 94




     that provide financing and material support to ISIS, including individuals and organizations that are
 1
 2 designated as and SDGTs.
 3          424.    ISIS, its members, and its related entities and affiliates have operated numerous

 4 Google accounts, often using their own names and displaying emblems and symbols associated with
 5 ISIS and its related terrorist entities.
 6
          425. ISIS’s news and media organizations have operated YouTube accounts, often
 7
   including separate accounts for Arabic, French, English and other languages.
 8
          426. Through Google’s services, Google makes potential ISIS recruits, ISIS members,
 9
10 and ISIS leaders, available to other ISIS operatives, thus providing personnel to ISIS itself.
11          427.    Prior to the Paris attacks, Google refused to actively monitor its online social media

12 networks, including YouTube, to block ISIS’s use of Google’s Services. Instead, Google knowingly
13
     permitted ISIS and ISIS’s members and affiliates to use YouTube platform and other services, and
14
     generally only reviewed ISIS’s use of its Services in response to third party complaints.
15
            428.    Even when Google has received complaints about ISIS’s use of its YouTube platform
16
17 and other services, despite knowing that ISIS is a designated FTO and that ISIS has engaged in
18 terrorist activity, Google has at various times determined that ISIS’s use of its Services did not
19 violate Google’s policies and permitted ISIS-affilated accounts to remain active, or removed only a
20 portion of the content posted on an ISIS-related account and permitted the account to remain active.
21
            429.    While Google suspended or blocked selected ISIS-related accounts at various times,
22
     prior to the Paris Attack Google did not make substantial or sustained efforts to ensure that ISIS
23
     would not re-establish the accounts using new identifiers.
24
25          430.    Terrorists have used YouTube to promote and support their activities for years.

26
27
28                                             78
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 79 of 94




              431.   In 2008, a member of a prominent jihadi website forum began to call on Islamist
 1
 2 terrorists to begin using Facebook as a tool for terrorism; in making the case for Facebook, the
 3 member argued: “We have already had great success in raiding YouTube.”33
 4            432.   In December 2011, the Middle East Media Research Institute (“MEMRI”) issued a
 5 report stating that it had determined that: “YouTube has emerged as one of the leading websites for
 6
   online jihad. It has replaced – and surpassed – websites administered by the jihadis themselves,
 7
   which were previously the leaders in online jihadi efforts.”
 8
           433. On February 26, 2013, members of the Home Affairs Committee of the U.K. House
 9
10 of Commons questioned Google/YouTube executive Sarah Hunter about jihadi terrorists’ use of
11 YouTube to promote terrorism, and particularly focused on al-Qaeda leader Anwar Al-Awlaki,
12 whose video speeches (known to have inspired multiple terrorist attacks in the West) proliferate on
13
     YouTube.
14
              434.   The Google representative admitted that she had seen some of al-Awlaki’s videos on
15
     YouTube, but acknowledged that Google did not actively guard against terrorists’ use of the
16
17 YouTube platform and services.
18            435.   Rather, the Google representative testified that Google only reviews a video posted

19 on YouTube if it receives a complaint from a YouTube user, and then Google will decide whether
20 to block or remove the video if a Google reviewer determines that it violates Google’s own content
21
     policies.
22
              436.   The media has widely reported on terrorists’ use of YouTube and Google’s refusal
23
     to take any meaningful action to stop it.
24
25
26       33
            Will McCants, “Invading Facebook: Theory and Practice,” Jihadica.com (Dec. 17, 2008),
     http://www.jihadica.com/invading-facebook-theory-and-practice/.
27
28                                               79
                 Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 80 of 94




             437.   For example, on July 7, 2014, CBS Local reported that “militants post beheading
 1
 2 videos on sites like Google’s YouTube, giving an image the chance to go viral before being shut
 3 down.”34
 4           438.   In February 2015, Google announced that it had begun hiring Arabic speakers to
 5 serve as “moderators” to review videos posted to YouTube in the event complaints are received
 6
   about particular posts.
 7
          439. However, Google reiterated that it would only review a video after a complaint is
 8
   received, and it would then make a determination to block or delete the video based upon its own
 9
10 content policies.
11           440.   In some cases, rather than block or remove terrorist videos, Google will place an age

12 restriction on a YouTube video, requiring a viewer to log-in to YouTube and claim to be at least 18
13
     years-of-age before viewing it.
14
             441.   On March 3, 2015, CNN Money reported that Google was placing advertisements in
15
     front of ISIS videos posted on YouTube.35
16
             442.   On March 10th 2015, DeathandTaxes.com released an article titled, “Beer ads keep
17
18 showing up on ISIS YouTube videos.”
                                       36


19
20
21
22      34
           “Should Twitter, Facebook Be Held Liable For A Terrorist Attack? (Jul. 24, 2015),
   http://sanfrancisco.cbslocal.com/2015/07/24/should-twitter-facebook-be-held-liable-for-a-terrorist-
23
   attack/.
24     35
           Laurie Segall, “These ads ran before ISIS videos,” CNN Money (Mar. 3, 2015),
   http://money.cnn.com/2015/03/03/technology/isis-ads-youtube/.
25
       36
          Joe Veix, “Beer ads keep showing up on ISIS YouTube videos,” Deathandtaxes.com (Mar.
26 10, 2015), http://www.deathandtaxesmag.com/239510/beer-ads-keep-showing-up-on-isis-youtube-
   videos/.
27
28                                             80
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 81 of 94




              443.   On March 10th 2015, NBC News released an article titled, “Ads Shown Before
 1
                                                   37
 2 YouTube ISIS Videos Catch Companies Off-Guard.”
 3            444.   On March 11, 2015, NewsMediaRockstars reported that: “Major corporations like

 4 Procter and Gamble, Anheuser-Busch, and Toyota have all been forced to make apologies after ads
 5 for their products started rolling in front of ISIS recruiting videos which have been cropping up ever
 6
   more frequently on the [YouTube] site.”38
 7
           445. On April 28, 2015, MusicTechPolicy.com reported that the Islamic State has released
 8
   a new YouTube video “showcasing recent battles in the Al Sufiyah area of eastern Ramadi.
 9
10 Approximately 30 Iraqi police have been killed and around 100 more have been injured in recent
11 days in the western provincial capital.”39
12            446.   On August 6, 2015, Vladimir Platov of New Eastern Outlook reported: “The well-
13
     known online video platform YouTube serves as the main media platform of these radical
14
     fighters.”40
15
16
17
18
19
20
         37
21          See http://www.nbcnews.com/storyline/isis-terror/ads-shown-isis-videos-youtube-catch-
     companies-guard-n320946.
22       38
           Evan DiSimone, “Advertisers Apologize For Ads Shown On ISIS YouTube Videos,”
   NewMediaRockstars (Mar. 11, 2015), http://newmediarockstars.com/2015/03/advertisers-
23
   apologize-for-ads-shown-on-isis-youtube-videos/.
24     39
          Chris Castle, “Live From YouTubeistan: Google Still Providing Material Support for ISIS,”
   MusicTechnologyPolicy.com (Apr. 28, 2015), https://musictechpolicy.com/2015/04/28/live-from-
25
   youtubeistan-google-still-providing-material-support-for-isis/.
26     40
          Vladimir Platov, “Hi-Tech Tools of ISIL Propaganda,” New Eastern Outlook (Aug. 6, 2015),
   http://journal-neo.org/2015/06/08/hi-tech-tools-of-isil-propaganda/.
27
28                                              81
                Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
          Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 82 of 94




              447.   In March 2016 the Digital Citizens’ Alliance issued a report documenting a number
 1
 2 of examples of presidential election campaign ads placed on ISIS videos, including a Ted Cruz ad
 3 appearing before a video produced by ISIS’s al-Hayat Media.41
 4            448.   Google derives revenue from ads placed on YouTube, including the ads placed
 5 before ISIS videos posted on YouTube.
 6
           449. Google does not place ads on YouTube randomly; rather, they are targeted to the
 7
   viewer using based upon algorithms that analyze and use data about the ads, the user, and the video
 8
   posted.42
 9
10            450.   By specifically targeting advertisements based on viewers and content, Google is no

11 longer simply passing through the content of third parties; rather, Google is itself creating content
12 because it exercises control over what advertisement to match with an ISIS video posting on
13
     YouTube.
14
              451.   Moreover, Google’s revenue is enhanced by charging advertisers extra for placing
15
     targeted advertisements.
16
              452.   In addition, Google agrees to shares a percentage of the revenue it generates from
17
18 ads placed before YouTube videos with the user who posts the video.
19            453.   In order for ads to appear associated with a YouTube video, the poster must create a
20 Google “AdSense” account and register the account for “monetization.”
21
22
23
24   “Fear, Loathing, and Jihad: How YouTube is pairing the 2016 candidates with the creepy, the
     41

   corrupt, and the criminal,” Digital Citizens’ Alliance (Mar. 2016), https://media.gractions.com/
25
   314A5A5A9ABBBBC5E3BD824CF47C46EF4B9D3A76/cbb90db1-b1aa-4b29-a4d5-5d6453acc
26 2cd.pdf.
       42
          See Google’s description of targeted ads on YouTube at: https://static.googleusercontent.com/
27
   media/www.youtube.com/en//yt/advertise/medias/pdfs/targeting-onesheeter-en.pdf.
28                                                   82
              Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
      Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 83 of 94




            454.   According to Google, each video must be reviewed and approved by Google before
 1
 2 Google will permit ads to be placed with that video.
 3          455.   Google represents that videos must meet Google’s policies and terms before they

 4 will be approved for ads.
 5          456.   Upon information and belief, Google has reviewed and approved ISIS videos,
 6
     including videos posted by ISIS-affiliated users, for “monetization” through Google’s placement of
 7
     ads in connection with those videos.
 8
            457.   Upon information and belief, by thus approving ISIS videos, including videos by
 9
10 posted by ISIS-affiliated users, Google has agreed to share with ISIS and ISIS-affiliated users a
11 percentage of revenues generated by these ads.
12          458.   The following is a screen shot example of Google placing targeted ads in conjunction
13
     with an ISIS video on YouTube:
14
15
16
17
18
19
20
21
22
23
24
25
26
27
     B.     Google as Content Creator
28                                             83
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 84 of 94




 1          459.    When individuals look at a YouTube page that contains postings and advertisements,
 2
     that configuration has been created by Google. In other words, a viewer does not simply see the
 3
     posted video; nor does the viewer see just an advertisement. Rather, Google creates a composite
 4
     page of content from multiple sources.
 5
 6          460.    Google creates this page by selecting which advertisement to match with the posted

 7 video on the page through its proprietary algorithms that select the advertisement based on
 8 information about the viewer and the posted video. Thus there is a content triangle matching the
 9
     videos, advertisements, and viewers.
10
            461.    Although Google has not created the posted video, nor has it created the
11
     advertisement, Google has created new unique content by choosing which advertisement to combine
12
     with the posted video with knowledge about the viewer.
13
14          462.    Google’s active involvement in combining certain advertisements with certain

15 posted videos for specific viewers means that Google is not simply passing along content created
16 by third parties; rather, Google incorporates ISIS posted videos along with advertisements matched
17
     to the viewer to create new content for which Google earns revenue, and thus providing material
18
     support to ISIS.
19
            B.      Google’s YouTube Platform and Other Services are Unique
20
21          463.    Google’s YouTube platform and other services are provided to users via Google’s

22 unique computer architecture.
23          464.    Whenever a YouTube user posts a video on YouTube, Google’s computer servers
24 receive the information and distribute it to the YouTube user’s network of YouTube channel
25
   “subscribers.”
26
27
28                                               84
                 Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 85 of 94




            465.    The posted video also appears on the YouTube user’s YouTube channel page, and is
 1
 2 available via YouTube’s platform and search engines on the internet, depending upon the user’s
 3 privacy settings.
 4          466.    The video and other information that is input by a YouTube user into YouTube is
 5 also stored on Google’s computer equipment as well as on Google’s backup storage equipment.
 6
           467. YouTube users’ videos and other information are hosted on Google’s computer
 7
   equipment.
 8
           468. Google enables users to connect and communicate with “subscribers” or with others
 9
10 via posts that can be in the form of a short message, a photo with a caption, sharing a web link or a
11 news article from another website, or linking to other social media platforms.
12          469.    Google users also “like” and “share” others’ videos, thereby exposing these videos
13
     to new networks of viewers.
14
            470.    Google uses computer algorithms to match videos and accounts with similarities, so
15
     that similar YouTube videos and accounts are suggested to a user or viewer when viewing a
16
17 YouTube account; in this way, users are able to locate other videos and accounts related to ISIS
18 even if they do not know the correct identifier or if the original YouTube account has been replaced
19 by a new identifier.
20          471.    Effectively, Google serves as a broker or match-maker between like-minded people,
21
     introducing users to other users and videos that they will be interested in based on the video and
22
     account information and characteristics; these types of suggestions appear on the side margin of the
23
     user’s YouTube page, and even automatically load and play when a selected video ends.
24
25          472.    By providing Google’s YouTube platform and other services to ISIS, Google is

26 providing to ISIS use of Google’s unique computer architecture, computer servers, storage and
27
28                                             85
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 86 of 94




     communication equipment, highly-developed and sophisticated algorithms, and services that
 1
 2 facilitate ISIS’s ability to reach and engage audiences it could not otherwise reach as effectively.
 3             473.   As discussed above, YouTube’s usefulness to ISIS is not merely about content; ISIS

 4 uses YouTube as a tool to connect with others and promote its terrorist activity.
 5
     C.        Google Can Deny Services to ISIS, But Refused to Do So
 6
               474.   Google has tools by which it can identify, flag, review, and remove ISIS YouTube
 7
     accounts.
 8
               475.   Although YouTube proclaims that it deletes accounts of those who run afoul of its
 9
10 policies, YouTube allows these accounts to be quickly regenerated. This account regeneration
11 leaves signatures which could be easily detected by YouTube in a content independent
12 manner. That YouTube allows ISIS to quickly regenerate deleted accounts when this practice could
13
     be eliminated or severely limited provides further evidence that YouTube provides material support
14
     to ISIS.
15
16
               476.   In August 2016, after a 12-month inquiry on countering extremism that included
17
18 testimony from Google and other social media company executives, the U.K. House of Commons’
19 Home Affairs Committee issued a report titled “Radicalisation: the counter-narrative and identifying
20 the tipping point.” (“U.K. Report”).43
21
               477.   In the 2016 U.K. Report, the Home Affairs Committee found that:
22
                      “The use of the internet to promote radicalisation and terrorism is one of the
23                    greatest threats that countries . . . face.
                      …
24
25
26       Home Affairs Committee, “Radicalisation: the counter-narrative and identifying the tipping
          43

   point,” House of Commons (Aug. 25, 2016), http://www.publications.parliament.uk/pa/
27
   cm201617/cmselect/cmhaff/135/135.pdf.
28                                              86
            Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 87 of 94




                       Social media companies are consciously failing to combat the use of their
 1                     sites to promote terrorism and killings. Networks like Facebook, Twitter
 2                     and YouTube are the vehicle of choice in spreading propaganda and they
                       have become the recruiting platforms for terrorism. They must accept that
 3                     the hundreds of millions in revenues generated from billions of people using
                       their products needs to be accompanied by a greater sense of responsibility
 4                     and ownership for the impact that extremist material on their sites is having.
                       There must be a zero tolerance approach to online extremism, including
 5                     enticement to join extremist groups or commit attacks of terror and any
 6                     glorification of such activities… These companies are hiding behind their
                       supranational legal status to pass the parcel of responsibility and refusing to
 7                     act responsibly in case they damage their brands.”44

 8
                                              CLAIMS FOR RELIEF
 9
10                                         FIRST CLAIM FOR RELIEF

11                                LIABILITY FOR AIDING AND ABETTING
                                  ACTS OF INTERNATIONAL TERRORISM
12                                PURSUANT TO 18 U.S.C. § 2333(a) and (d)
13
               478.    Plaintiffs repeat and re-allege each and every allegation of the foregoing paragraphs
14
     as if fully set forth herein.
15
               479.    Since 2004, ISIS has been, and continues to be, a designated foreign terrorist
16
17 organization under section 219 of the Immigration and Nationality Act, 8 U.S.C. § 1189.
18             480.    ISIS has committed, planned, or authorized activities that involved violence or acts

19 dangerous to human life that are a violation of the criminal laws of the United States, or that would
20 be a criminal violation if committed within the jurisdiction of the United States, including inter alia
21
     the prohibition on killing, attempting to kill, causing serious bodily injury, or attempting to cause
22
     serious bodily injury to U.S. citizens as set forth in 18 U.S.C. § 2332.
23
               481.    These activities committed, planned, or authorized by ISIS appear to have been, and
24
25 were intended to: (a) intimidate or coerce the civilian populations of France, the United States and
26
27       44
              Id. at 11, 13-14 (original in bold).
28                                                87
                  Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 88 of 94




     other countries; (b) influence the policy of the Governments of France, the United States and other
 1
 2 countries by intimidation or coercion; or (c) affect the conduct of the Governments of France, the
 3 United States and other countries by mass destruction, assassination, or kidnapping.
 4          482.    These activities committed, planned, or authorized by ISIS occurred entirely or
 5 primarily outside of the territorial jurisdiction of the United States and constituted acts of
 6
   international terrorism as defined in 18 U.S.C. § 2331(1).
 7
           483. Plaintiffs have been injured in their person by reason of the acts of international
 8
   terrorism committed, planned, or authorized by ISIS.
 9
10          484.    At all times relevant to this action, Google knew that ISIS was a Foreign Terrorist

11 Organization, that it had engaged in and continued to engage in illegal acts of terrorism, including
12 international terrorism.
13
            485.    Google knowingly provided substantial assistance and encouragement to ISIS, and
14
     thus aided and abetted ISIS in committing, planning, or authorizing acts of international terrorism,
15
     including the acts of international terrorism that injured plaintiffs.
16
            486.    By aiding and abetting ISIS in committing, planning, or authorizing acts of
17
18 international terrorism, including acts that caused each of the plaintiffs to be injured in his or her
19 person and property, Google is liable pursuant to 18 U.S.C. § 2333(a) and (d) for threefold any and
20 all damages that plaintiffs have sustained as a result of such injuries, and the costs of this suit,
21
     including attorney’s fees.
22
23
                                      SECOND CLAIM FOR RELIEF
24
25                      LIABILITY FOR CONSPIRING IN FURTHERANCE OF
                             ACTS OF INTERNATIONAL TERRORISM
26                            PURSUANT TO 18 U.S.C. § 2333(a) and (d)

27
28                                              88
                Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 89 of 94




            487.    Plaintiffs repeat and re-allege each and every allegation of the foregoing paragraphs
 1
 2 as if fully set forth herein.
 3          488.    Google knowingly agreed, licensed, and permitted ISIS and its affiliates to register

 4 and use Google’s YouTube platform and other services to promote and carry out ISIS’s activities,
 5 including ISIS’s illegal acts of international terrorism that injured plaintiffs
 6
           489. Google was aware that U.S. federal law prohibited providing material support and
 7
   resources to, or engaging in transactions with, designated foreign terrorist organizations and other
 8
   specially designated terrorists.
 9
10          490.    Google thus conspired with ISIS in its illegal provision of Google’s YouTube

11 platform and other services to promote and carry out ISIS’s illegal acts of international terrorism,
12 including the acts that injured plaintiffs.
13
            491.    By conspiring with ISIS in furtherance of ISIS’s committing, planning, or
14
     authorizing acts of international terrorism, including acts that caused each of the plaintiffs to be
15
     injured in his or her person and property, Google is liable pursuant to 18 U.S.C. § 2333(a) and (d)
16
17 for threefold any and all damages that plaintiffs have sustained as a result of such injuries, and the
18 costs of this suit, including attorney’s fees.
19
20                                    THIRD CLAIM FOR RELIEF
21
                     PROVISION OF MATERIAL SUPPORT TO TERRORISTS
22                   IN VIOLATION OF 18 U.S.C. § 2339A AND 18 U.S.C. § 2333

23          492.    Plaintiffs repeat and re-allege each and every allegation of the foregoing paragraphs
24 as if fully set forth herein.
25
            493. The YouTube platform and other products and services which Google knowingly
26
   provided to ISIS, including use of Google’s services, computers and communications equipment,
27
28                                             89
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 90 of 94




     substantially assisted ISIS in carrying out its terrorist activities, including recruiting, radicalizing,
 1
 2 and instructing terrorists, raising funds, creating fear and carrying out attacks, among other things.
 3          494.     Through it actions, Google has also provided personnel to ISIS by making ISIS

 4 leaders, members, and potential new recruits available to each other and to ISIS.
 5          495.     These services, equipment, and personnel constituted material support and resources
 6
     pursuant to 18 U.S.C. § 2339A, and they facilitated acts of terrorism in violation of 18 U.S.C. §
 7
     2332 that caused the death of Nohemi Gonzalez and injuries to plaintiffs.
 8
            496.     Google provided these services, equipment, and personnel to ISIS, knowing that they
 9
10 were to be used in preparation for, or in carrying out, criminal acts including the acts that injured
11 the plaintiffs.
12          497.     As set forth more fully above, but for the material support and resources provided by
13
     Google, the attack that injured the plaintiffs would have been substantially more difficult to
14
     implement.
15
            498.     By committing violations of 18 U.S.C. § 2339A that have caused the plaintiffs to be
16
17 injured in his or her person, business or property, Google is liable pursuant to 18 U.S.C. § 2333 for
18 any and all damages that plaintiffs have sustained as a result of such injuries.
19
20                                    FOURTH CLAIM FOR RELIEF
21
                      PROVISION OF MATERIAL SUPPORT AND RESOURCES
22                  TO A DESIGNATED FOREIGN TERRORIST ORGANIZATION
                   IN VIOLATION OF 18 U.S.C. § 2339B(a)(1) AND 18 U.S.C. § 2333(a)
23
            499.     Plaintiffs repeat and re-allege each and every allegation of the foregoing paragraphs
24
25 as if fully set forth herein.
26          500.     By knowingly (or with willful blindness) providing its YouTube platform and other

27 services, including use of computer and communications equipment, and personnel, for the benefit
28                                              90
                Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
       Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 91 of 94




     of ISIS, Google has provided material support and resources to a designated Foreign Terrorist
 1
 2 Organization under the Antiterrorism and Effective Death Penalty Act of 1996 in violation of 18
 3 U.S.C. § 2339B(a)(1).
 4          501.    Google knew of (or was willfully blind to) ISIS’s terrorist activities.
 5          502.    Google knew (or was willfully blind to the fact) that ISIS had been designated a
 6
     Foreign Terrorist Organization by the United States Government.
 7
            503.    Google’s violation of 18 U.S.C. § 2339B proximately caused the damages to
 8
     plaintiffs described herein.
 9
10          504.    By knowingly (or with willful blindness) providing material support to a designated

11 Foreign Terrorist Organization, Google is therefore civilly liable for damages to plaintiffs for their
12 injuries pursuant to 18 U.S.C. § 2333(a).
13
14
     PRAYER FOR RELIEF
15
     WHEREFORE, plaintiffs pray that this Court:
16
                    (a)     Enter judgment against Google and in favor of each plaintiff for
17
18 compensatory damages in amounts to be determined at trial;
19                  (b)     Enter judgment against Google and in favor of each plaintiff for treble
20 damages pursuant to 18 U.S.C. § 2333;
21
                    (c)     Enter judgment against Google and in favor of each plaintiff for any and all
22
     costs sustained in connection with the prosecution of this action, including attorneys’ fees, pursuant
23
     to 18 U.S.C. § 2333;
24
25                  (d)     Enter an Order declaring that Google has violated, and is continuing to

26 violate, the Anti-Terrorism Act, 18 U.S.C. § 2331 et seq.; and
27                  (e)     Grant such other and further relief as justice requires.
28                                              91
                Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
     Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 92 of 94




                                     JURY DEMAND
 1
 2        PLAINTIFFS DEMAND A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.

 3 Dated: March 10, 2017.
 4
 5                                 Excolo Law, PLLC
 6
                                   by:    /s/ Keith Altman
 7                                        Keith Altman
 8                                 Keith Altman (SBN 257309)
                                   Solomon Radner (pro hac vice)
 9                                 26700 Lahser Road, Suite 401
                                   Southfield, MI 48033
10                                 516-456-5885
                                   Email: kaltman@lawampmmt.com
11                                        sradner@1800lawfirm.com
12                                 1-800-LAWFIRM
                                   Ari Kresch (pro hac vice)
13                                 26700 Lahser Road, Suite 401
                                   Southfield, MI 48033
14                                 516-456-5885
                                   800-LawFirm
15                                 Email: akresch@1800lawfirm.com
16
17                                 THE BERKMAN LAW OFFICE, LLC

18                                 Robert J. Tolchin
19                                 (Admitted pro hac vice)
                                   111 Livingston Street, Suite 1928
20                                 Brooklyn, New York 11201
21                                 718-855-3627
                                   rtolchin@berkmanlaw.com
22
23
                                   WEINSTOCK MANION, A Law Corporation
24                                 Diane Park, Esq.
25                                 M. Neil Solarz, Esq.
                                   1875 Century Park East, Suite 2000
26                                 Los Angeles, California 90067
27                                 (310) 553-8844

28                                           92
             Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
      Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 93 of 94




 1
                                       VERIFICATION
 2
             I, the undersigned, certify and declare that I have read the foregoing complaint,
 3
 4
     and know its contents.

 5           I am the attorney for Plaintiffs to this action. Such parties are absent from the
 6
     county where I have my office and is unable to verify the document described above.
 7
 8 For that reason, I am making this verification for and on behalf of the Plaintiffs. I am
 9 informed and believe on that ground allege the matters stated in said document are
10
     true.
11
12           I declare under penalty of perjury under the laws of the State of California that

13 the foregoing is true and correct.
14
     Executed on March 10, 2017, at Southfield, MI.
15
16
                                                    Respectfully Submitted,
17
                                                    EXCOLO LAW, PLLC
18
19                                                  By: /s Keith Altman
                                                    Attorney for Plaintiffs
20
21                                                  Keith L. Altman, SBN 257309
                                                    26700 Lahser Road., Suite 401
22
                                                    Southfield, MI. 48033
23                                                  kaltman@lawampmmt.com
                                                    (516)456-5885
24
25
26
27
28                                             93
               Gonzalez v. Google, Second Amended Complaint, 4:16-CV-3282(DMR)
Case 4:16-cv-03282-DMR Document 95 Filed 04/21/17 Page 94 of 94
